                     UNITED STATES DISTRICT COURT
               FOR THE DISTRICT COURT OF MASSACHUSETTS

__________________________________________
                                          |
Ina Steiner,                              |
David Steiner,                            |
Steiner Associates, LLC,                  |
        (Publisher of EcommerceBytes)     |                  CASE NO: 1:21-cv-11181
                       Plaintiffs         |
                                          |
       vs.                                |
                                          |
                                          |
eBay, Inc., et al.,                       |
                    Defendants            |
__________________________________________|


       PLAINTIFF’S CONSOLIDATED OPPOSITION TO DEFENDANTS’
                               MOTIONS TO DISMISS
    (Request for Leave to File Consolidated Opposition Allowed November 15, 2021)

                                       Introduction

       eBay and PFC, through their agents, engaged in a campaign to “take [] down” the

Steiners, and end their reporting on eBay, using online and in-person threats, intimidation,

harassment, and stalking to carry out their objective. The directives came from the top –

through then CEO Devin Wenig and Senior Vice President and Chief Communications

Officer Steve Wymer – who provided the other Defendants with carte blanche authority to

terminate the reporting of the Steiners by whatever means necessary, with Defendant

Wymer expressing “…I want to see ashes. As long as it takes. Whatever it takes.”

Defendant Wymer promised the Defendants he would, “embrace managing any bad

fallout” if the plan went south, further directing, “We need to STOP her.”

       As outlined in the Complaint, each of the Defendants assumed a role, all integral to

carrying out the scheme to reach the goal of ending the Steiners reporting on eBay.


                                             1
Defendants Wenig and Wymer set the plan in motion and enlisted Defendant Baugh to

carry out the directives. Defendant Baugh hand selected a team to assist with engaging in

the threats, harassment, stalking and surveillance. Defendants Harville, Cooke and Gilbert

led the younger staff members, and in using their background and expertise helped plan the

campaign. Defendants Popp, Stockwell and Zea assisted with planning and carrying out

the mission. Defendant PFC financed the plan through the payment of expenses. All of the

conduct was carried out while the Defendants were working within the scope of their

employment as members of the security team, and at the behest of eBay.

         Defendants Wenig and Wymer’s directives shock the conscience, and have caused

considerable damage to the Steiners. Starting with an online intimidation campaign, the

Defendants harassed and threatened the Steiners through Twitter, then began sending

ominous and disturbing package deliveries which included live spiders, cockroaches, and

implied threats to kill with a bloody pig mask, a funeral wreath, and a book entitled “Grief

Diaries: Surviving Loss of a Spouse” sent directly to David Steiner. These messages and

deliveries often were accompanied by ominous simultaneous Twitter messages such as “do

I have your attention now, cunt?”

         After several days of around the clock threatening and vulgar emails, packages and

online messages, Defendants Wenig and Wymer’s underlings travelled from California to

Natick1 to stalk, harass and threaten the Steiners in-person, making clear that whoever was

torturing them was now stalking them and their home. Simultaneously, the Defendants

who remained in California continued with the online threats and stalking, subjecting the

Steiners to relentless psychological distress. The Defendants also “doxed” the Steiners,



1
    Paid for by Defendant PFC.

                                              2
posting their address online so that not only were the Defendants stalking the Steiner

residence, strangers began showing up at their home.

       The Steiners, justifiably terrified, began calling the Natick Police Department with

frequency, which the Defendants monitored with a police scanner in an attempt to stay one

step ahead of both the Steiners and any law enforcement. The Defendants knew the panic

and fear they were inflicting on the Steiners by carrying out Defendants Wenig and

Wymer’s directives, which only fueled their fire: they praised one another that their

“work” was accomplishing their goal of intimidating, threatening, torturing, terrorizing,

stalking and silencing the Steiners. The Defendants callously joked that the Steiners were

“seeing ghosts, think everyone is following them and they call the police every 10

minutes,” and “We know the targets have been impacted by this op.” Despite recognizing

the mental and emotional anguish the Defendants were inflicting, the Defendants continued

to persist with the campaign to “burn them down.”

       Once the Defendants realized that the Natick Police Department (“NPD”) was

investigating the conspiracy, the Defendants plotted to destroy evidence, mislead the

investigation, and divert attention away from eBay. Defendant Baugh called a meeting and

directed the others to delete all communications and evidence relating to the scheme, and

the Defendants persistently lied to investigators and fabricated evidence. Their cover-up

attempts included efforts to create a fake dossier, and a phony “persons of interest” file on

the Steiners to make them appear dangerous, and ensure the Defendants could deflect their

own blame when interacting with law enforcement.

       Now, the Defendants each try to absolve themselves from liability, claiming the

Steiners have failed to set forth a sufficient factual basis to satisfy the elements of each of




                                               3
their claims.2 The bulk of the Defendants’ arguments, however, hold the Steiners to too

high a burden, and suggest a standard more applicable to the summary judgment or trial

stage. Ultimately, the Steiners have set forth a plausible claim for relief, and have included

“enough fact to raise a reasonable expectation that discovery will reveal evidence of the

illegal [conduct]” with respect to each defendant, and each claim set forth in the

Complaint. See Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d 1, 17 (1st Cir. 2011).

(recognizing chain of events leading to defendants’ actions “may often be unavailable to a

plaintiff at this early stage of the litigation”), citing Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009).

          As such, this Court should deny the Defendants’ motions to dismiss for the reasons

set forth infra, and allow the Steiners to proceed to the discovery stage. See Ocasio-

Hernandez, 640 F.3d at 19; Iqbal, 556 U.S. at 678.3

                                         Background

          The Plaintiffs, David and Ina Steiner and Steiner Associates, LLC, filed a

Complaint against eBay, Progressive Force Concepts (“PFC”), two eBay executives –

Devin Wenig and Steve Wymer – and various other employees of eBay and PFC – Jim

Baugh, David Harville, Brian Gilbert, Philip Cooke, Stephanie Popp, Stephanie Stockwell,

and Veronica Zea – on July 21, 2021.4




2
  Not every Defendant moved to dismiss each and every claim, so the Steiners delineate
during each argument which Defendant moved to dismiss each individual cause of action.
3
  Plaintiffs agree at this time to dismiss Count 6, Vandalism, and Count 10, Violation of
M.G.L. c. 93A, § 11 at this time. Plaintiffs reserve the right to revive the 93A claim after
conducting discovery.
4
  The Complaint also named several John and Jane Does.

                                                4
        All Defendants except for Defendant Harville – who filed an Answer – have filed

motions to dismiss various counts of the Complaint.

        This Court granted leave to file a consolidated opposition to the Defendant’s

Motions to Dismiss on November 15, 2021. This Order was stayed to allow the parties to

attempt to mediate this case. The Plaintiff’s opposition is due on May 23, 2022.

                                     Standard of Review

        In assessing a 12(b)(6) motion to dismiss for failure to state a claim, the Court

“must take all well-pleaded facts as true,” and a count is properly dismissed only where the

allegations are such that “the plaintiff can prove no set of facts to support [the] claim for

relief.” Rockwell v. Cape Cod Hosp., 25 F.3d 254, 260 (1st Cir. 1994).

        The Court assesses whether the “factual allegations gives rise to a plausible claim

to relief.” Rodriguez-Reyes v. Molina-Rodriguez, 711 F.3d 49, 53 (1st Cir. 2013). The

context specific inquiry does not demand “a high degree of factual specificity.” Garcia-

Catalan v. United States, 734 F.3d 100, 103 (1st Cir. 2013). “There need not be a one-to-

one relationship between any single allegation and a necessary element of the cause of

action.” Rodriguez-Reyes, 711 F.3d at 55.

        The ultimate question is “whether all the facts alleged, when viewed in the light

most favorable to the plaintiffs, render the plaintiff’s entitlement to relief plausible.”

Ocasio-Hernandez, 640 F.3d at 14. A “plausible but inconclusive” inference from pleaded

facts will survive a motion to dismiss. Sepulveda-Villarini v. Dept. of Ed. Of Puerto Rico,

628 F.3d 25, 30 (1st Cir. 2010). The standard “simply calls for enough fact to raise a

reasonable expectation that discovery will reveal evidence of the illegal [conduct].”




                                                5
Ocasio-Hernandez, 640 F.3d at 17, quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

556 (2007).

                              Considering Extrinsic Evidence

       Extrinsic Evidence Demonstrates Wenig and Wymer Directed the Acts, and that
       they knew of Baugh’s Background

       While ordinarily the Court may not consider documents not attached to the

complaint, or not expressly incorporated therein in assessing a Rule 12(b)(6) motion to

dismiss, there are a number of exceptions: “for documents the authenticity of which are not

disputed by the parties; for official public records; for documents central to plaintiffs’

claim; or for documents sufficiently referred to in the complaint.” Watterson v. Page, 987

F.2d 1, 4 (1st Cir. 1993).

       Additionally, the Court may be more inclined to consider documents submitted by

Plaintiffs, in order to bolster an argument against dismissing the Complaint. See Watterson,

987 F.2d at 4, quoting Cortec Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 48 (2d Cir.

1991) (“The problem that arises when a court reviews statements extraneous to a complaint

generally is the lack of notice to the plaintiff…Where the plaintiff has actual notice…and

has relied upon these documents in framing the complaint the necessity of translating a

Rule 12(b)(6) motion into one under Rule 56 is largely dissipated.”); Berk v. Ascott Inv.

Corp., 759 F. Supp. 245, 249 (E.D. Pa. 1991) (“When a plaintiff has admitted the

authenticity of a document…, a court may consider that document in ruling on a motion

under Fed. R. Civ. P. 12(b)(6).”).

       This Court should consider the filings in Defendants Baugh and Harville’s criminal

case, as well as the admissions made during their plea hearings. In those documents,

Defendant Baugh alleges that Defendants Wenig, Wymer and other executives knew of his



                                               6
government intelligence background, the type of operatives he used during his

employment with the Government, and that he was hired due to this experience. R536-537.

Defendant Baugh also alleges that when he received the directives from Defendant

Wymer, which he knew were sanctioned by Defendant Wenig, he knew he was expected to

use his background and experience, and the unlawful tactics to take down the Steiners for

the benefit of eBay and Progressive Force Concepts.

       Defendant Baugh also pled guilty, and made several admissions during the Rule 11

hearing, including the following:5

       [B]etween approximately August 5, 2019, and August 23, 2019, the defendant,
       Mr. Baugh, and several coconspirators, all [of] whom worked at eBay, Inc., the
       multinational e-commerce company, agreed to engage in a harassment campaign
       that targeted a husband and wife who lived in Natick, Massachusetts. They're
       described in the indictment as Victim 1 and Victim 2.

       …

       The campaign, your Honor, targeted Victims 1 and 2 for their roles in publishing a
       newsletter that reported on issuesof interest to eBay sellers. Senior executives6 at
       eBay were frustrated with the newsletter's tone and content, and with the tone and
       content of comments that appeared underneath the newsletter's articles online. The
       harassment campaign arose from communications between those senior executives7
       and Mr. Baugh, who was at that time eBay's senior security employee.
       The campaign, which was intended to intimidate and harass the victims, was,
       of course, a conduct that included, first, sending threatening messages and
       communications to the victims over Twitter, which was an instrumental --
       instrumentality of interstate commerce.

       Second, ordering unwarranted and disturbing deliveries to the victims' home.
       And third, Zea, Harville, Mr. Baugh, and Popps [sic] traveled to Natick to surveil
       the victims in their home and community. The deliveries ordered to the victims's
       homes included a book on surviving the death of a spouse, a bloody pig mask, a


5
  All criminal defendants, to include Defendants Harville, Gilbert, Cooke, Popp, Stockwell
and Zea admitted to the same material facts, to include the fact that the entire conspiracy
was at the behest of Defendants Wenig and Wymer, due to their frustration with
EcommerceBytes reporting.
6
  The senior executives were identified as Defendants Wenig and Wymer.
7
  Defendants Wenig and Wymer.

                                             7
fetal pig, a funeral wreath, and live insects. The harassment also featured
Craigslist posts that invited the public for sexual encounters or estate sales at the
victims's home.

The threatening Twitter messages were written to Victim 1 and sometimes
addressed to Victim 2 by name as if they had been sent by eBay sellers who were
unhappy with the victims's coverage of eBay in the newsletter. Some of these
messages posted the victims's addresses publicly on the Internet, a concept known
as doxing, and threatened to visit the victims at their home.

Mr. Baugh intended for the harassment and intimidation to distract the victims from
publishing the newsletter, to change the newsletter's coverage of eBay, and
ultimately to enable eBay to contact the victims to offer assistance with the
harassment, what the government has called a "White Knight Strategy." The White
Knight Strategy would earn goodwill with the victims such that they might help
eBay learn the identity of Phytomaster, an anonymous online persona who
frequently posted negative comments about eBay underneath the newsletter's
articles and thereby allow eBay to discredit both Phytomaster and the victims.
Mr. Baugh, Harville, Zea, and -- and Ms. Zea also flew to Boston and then drove
immediately to Natick on August 15, 2019. Mr. Baugh and Mr. Harville
intended to install a GPS tracking device on the victim's car, but it was safely
locked in their garage at the time.

The victims spotted the surveillance team on August 16th, which led
them to call the Natick Police Department -- which I'll refer to as the
NPD -- in fear. Zea and Mr. Baugh and Ms. Popp, who arrived to
replace Mr. Harville on August 17th, continued that surveillance even
after having been spotted by the victims.

The NPD which began investigating the deliveries, the threats and the
surveillance connected Ms. Zea and Mr. Harville to two rented cars and then to
eBay. The NPD reached out to the company for assistance; and when Mr. Baugh
learned that the NPD was making inquiries, he and his coconspirators took steps
to prevent the NPD from learning about eBay's involvement in the harassment
campaign. This included sending Brian Gilbert, one of the retired police
captains, to a meeting with the NPD at which Mr. Gilbert made false statements
about Zea and Harville's and eBay's involvement.

Mr. Baugh and several of his coconspirators also made false statements to
internal investigators at eBay who they knew were attempting to respond to the
NPD's request for information and assistance.

Mr. Baugh and other coconspirators also deleted digital evidence related to
the cyberstalking campaign and falsified records intended to throw the NPD
off the trail.




                                        8
As these events were unfolding, the NPD referred the victims's harassment matter to
the FBI for investigation in late August of 2019.

On or about the dates below, Mr. Baugh took the following additional steps in
furtherance of the conspiracy charged in Count One of the indictment or in an
attempt to obstruct the investigation into it.

And with respect to the Counts Two and Three, the interstate travel in
furtherance of stalking, the evidence would show that on August 15, 2019, Mr.
Baugh flew interstate from California to Boston with Ms. Zea; and that upon
arrival at Logan Airport, the pair met up with Mr. Harville, rented cars and
drove out to the victims's residence in Natick in that unsuccessful attempt to
install a GPS device on the victim's car.

With respect to Counts Six and Seven, the use of the instrumentalities of
interstate commerce in furtherance of stalking, the evidence would show that on
August 5, 2021, Mr. Baugh convened a meeting at the GIC at eBay's corporate
headquarters with Stephanie Stockwell, Veronica Zea, Stephanie Popp and
others. He directed them to brainstorm the harassing packages that could be
sent to the victims's residence. This meeting led to the delivery of the harassing
packages that I described a moment ago.

On or about August 6, 2019, Mr. Baugh convened a second meeting among himself,
Mr. Gilbert, Ms. Popp, and Mr. Cooke. In that meeting, Mr. Baugh and those in
attendance planned the online harassment that would lead to the White Knight
Strategy that I described a moment ago, and that led to the delivery of those
harassing and threatening communications that I described a moment ago.

In Natick, during the course of surveilling Victim 1 and Victim 2, Mr. Baugh
dialed into a telephone conference line and used that facility of interstate
commerce to communicate with other members of the surveillance team in part to
monitor any police activity that might compromise the surveillance team.
Mr. Baugh also used WhatsApp in a facility of interstate commerce to
communicate with his coconspirators about the surveillance and about the
content of the harassing messages that would be sent to Victims 1 and 2.
As to Count Ten, the first of the witness tampering counts, your Honor, on
August 21, 2019, at approximately 9:34 a.m. at Boston's Ritz Carlton Hotel the
evidence would show that with the intent to prevent NPD Detective Jason
Sutherland from speaking with Ms. Zea, Mr. Baugh falsely told the detective
that Ms. Zea was his wife. Mr. Baugh also stated that Ms. Zea didn't want to
speak with the detective; and within 10 minutes Mr. Baugh took -- took Ms. Zea
away from the Ritz Carlton where the police were looking to speak with her to
another Boston area hotel. As to Count Eleven, a second obstruction count, your
Honor. By August 22, 2019, and thereafter, Mr. Baugh engaged in misleading
conduct, including making false statements and statements that omitted certain
material facts to eBay investigators, including eBay corporate counsel, internal



                                      9
       counsel.

       The statements which Mr. Baugh made to keep eBay8 and the NPD from learning
       about eBay's role in the campaign included that Mr. Baugh's team was not
       responsible for sending harassing deliveries or messages to the victims; that his
       team had been to Natick to investigate threats to the victims and that Mr. Harville
       had gone to Boston to attend a conference.

       As to Count Three, the first of the falsification counts, your Honor, the evidence
       would show that on August 21, 2019, Mr. Baugh learned from Brian Gilbert, who
       had attended the meeting with the NPD, that the NPD was looking into the use of a
       prepaid debit card in the San Jose, California, area to purchase one of the harassing
       deliveries.

       Veronica Zea,9 one of the coconspirators, had, in fact, made that purchase using
       that prepaid debit card, but Mr. Baugh directed a subordinate, Stephanie
       Stockwell, to assemble a list of eBay, quote, persons of interest in the Bay area
       that could be used to throw the NPD off the trail of Ms. Zea as a suspect, and that
       persons of interest list did not include Ms. Zea's name.

       As to Count Fourteen, a second falsification and destruction count, your Honor, on
       or about August 26, 2019, there was a meeting at eBay headquarters among Mr.
       Baugh and his coconspirators, and during that meeting Mr. Baugh directed the
       group to delete their WhatsApp and electronic messages concerning the trip to
       Boston and the harassment of the victims.

       R277-285.

       In addition to the allegations set forth in the Steiner complaint, Defendant Baugh

also admitted that the members of the conspiracy used a telephone conference line – which

was a facility of interstate commerce – to “communicate with other members of the

surveillance team in part to monitor any police activity that might compromise the

surveillance team.” R283. Defendant Baugh’s admissions during his plea hearing are

relevant to a claim of judicial estoppel, as discussed supra.




8
  Plaintiffs do not yet have all emails and reports to determine if eBay was in fact in the
dark. In its PowerPoint, eBay admitted that at a minimum, Wymer could be criminally
charged which implies that eBay’s C-Suite had knowledge of the plan. R5-6.
9
  Defendant Zea was an employee of PFC.

                                              10
       Defendant Harville likewise pled guilty, and admitted the Defendants engaged in

the conduct set forth in the Complaint, as well as additional information. Defendant

Harville admitted that Twitter is an instrumentality of interstate commerce, and that the

Defendants used Twitter to carry out the campaign against the Steiners. Defendant Harville

also admitted that Defendant Baugh forwarded Defendant Wymer’s texts to Defendant

Harville, to which Harville responded, “copy, find and destroy.” Defendant Harville

admitted to downloading an app called, “Broadcast,” which allowed him to access to

Natick Police Department communications. Defendant Harville was also instructed, in

conjunction with the allegation that the Steiners were “Persons of Interest,” to make up a

story that the Steiners threatened executives.

       Extrinsic Evidence Relating to Cooke’s Prior Admissions

       Moreover, this Court should consider Defendant Cooke’s plea and sentencing

hearings, and his sentencing memorandum. Specifically, in additions to the admissions

made by Defendant, Baugh, Defendant Cooke agreed to the following facts:

       As to Mr. Cooke specifically, on or about the dates below, he took the following
       steps in furtherance of the conspiracies charged in Counts One and Two of the
       information: First, on August 6, 2019, Mr. Cooke attended a meeting with Mr.
       Baugh, Ms. Popp, and Mr. Gilbert at which the four of them agreed to what the
       government has called the White Night Strategy, which included sending
       anonymous and harassing Twitter messages to Victim One so that she would be
       better receptive to eBay's offer of assistance with that very same harassment.
       On August 20, 2019, approximately two weeks after the harassing messages had
       begun, in a WhatsApp group that was created to vet the content of those
       anonymous messages to Victim One, Mr. Gilbert proposed to Mr. Cooke, Ms. Popp
       and Mr. Baugh the creation of more anonymous Twitter accounts in support of "our
       cause". And Mr. Gilbert proposed specific communications criticizing the victims'
       newsletter to be sent over those anonymous accounts. Within 60 seconds of that
       message being sent, Mr. Cooke send a thumbs up emoji in response.

       On August 20, 2019, at 9:43 p.m. Eastern in response of Mr. Baugh's WhatsApp
       message to Mr. Cooke, Mr. Baugh, Ms. Popp, and Mr. Gilbert, stating that the
       surveillance team had "burned two cars", but there was "no cause and they can't



                                             11
       prove anything. They are seeing ghosts now. LOL." Mr. Cooke replied, "Perfect."
       At 9:46 p.m. that same day in response to Mr. Baugh's WhatsApp message to Mr.
       Cooke, Ms. Popp, and Mr. Gilbert that a Natick investigator was polite and
       clueless, Mr. Cooke then replied "Perfect". At 9:40 p.m. in response to Mr.
       Gilbert's WhatsApp message stating, "We have known the targets have been very
       impacted by this op.

       Perfect time for the next phase." Mr. Cooke replied "Yes!"
       On the 21st of August 2019, at 9:47 p.m. in response to Mr. Gilbert's report that
       the Natick Police Department was looking into the purchase of prepaid gift cards at
       a Santa Clara Safeway. Mr. Cooke messaged the group, "If I was the detective, I
       would ask for a local police department contact to go get video. Might want to have
       a friendly in mind." In response Mr. Gilbert wrote, "I was thinking the same thing. I
       might volunteer to assist with that. Then we can control the local cop and maybe
       provide a video from a different Santa Clara Safeway."

       At 12:15 a.m. on the 22nd of August, the night before Mr. Gilbert met with the
       Natick Police Department's investigation in person about Ms. Zea and Mr.
       Harville's connection to the harassment, Mr. Cooke agreed with the group's
       recommendation to have Stephanie Popp pose as Ms. Zea's supervisor and
       suggested to the group that there be no mention to the Natick Police Department of
       the identity of Ms. Zea's actual supervisor. Finally at 12.29 a.m. that morning in a
       discussion of whether or not the group should continue to attempt to install a GPS
       tracker on the victim's car, after Mr. Gilbert wrote, "They couldn't be more on
       guard right now. If we can calm them down and win them over, maybe. Right now
       I would not risk an attempt." Mr. Cooke replied, "Agree with Brian, was typing the
       same thing."

       R495-497.

       Throughout Defendant Cooke’s sentencing hearing, he took full responsibility for

the actions he knew would gravely impact the Steiners and admitted that “a group of

people got together and immorally and illegally rationalized and justified horrific

behavior in order to please the boss.” R341.

       Notably, Defendant Cooke also claimed during his sentencing hearing that he

advised the other Defendants that “publication of the victims’ address…was illegal in

California. He also told the group that in California, the messages could not be threatening,

and if the victims said ‘stop,’ the messages had to stop.” R508. Defendant Cooke claimed




                                               12
that “[w]hen deliveries of unwanted items were discussed, Mr. Cooke told the group that

while the deliveries might seem funny, the Postal Inspectors would not look kindly on

misuse of the mails. He also explained that deliveries, like messages, could not be

threatening…When use of a possible GPS tracking device was discussed, Mr. Cooke

warned trackers were illegal in California and possibly illegal in Massachusetts and

suggested contacting a Massachusetts private investigator to find out. By the end of the

meeting, Mr. Cooke believed Baugh had accepted his advice not to send threatening

messages, not to do their own surveillance, not to use a tracker without first finding out if it

was legal, not to use role play, not to use the mails improperly, and not to send threatening

deliveries.” (Id.).

        During Defendant Cooke’s plea and sentencing hearings and in his public filing,

Defendant Cooke made statements and admissions that directly contradict the positions he

now takes in his motion to dismiss. These records likewise cannot be disputed on

authenticity grounds, and as discussed supra, are relevant to a claim of judicial estoppel.

Privilege Logs/Emails

        In Defendants Baugh and Harville’s criminal case, during the course of Rule 17

litigation relating to the Defendants’ request for discovery relating to the eBay internal

investigation and the Morgan Lewis investigation,10 eBay references a privilege log which

outlines additional interviews, emails and text communications that Plaintiffs have not yet

had access to.11 The privilege logs demonstrate that during the coverup stage, Defendant




10
  Morgan Lewis is the law firm eBay hired to conduct an investigation.
11
  Defendants Baugh and Harville agreed to limit their request to privilege logs from the
year 2019, only.

                                              13
Wenig texted Defendant Baugh that he would be returning from sabbatical the next day,

and stated, “the cavalry is back.” R545.

       The materials also demonstrate Defendants Wenig and Wymer, Wendy Jones, and

a number of other eBay employees12 were interviewed by the eBay legal department and/or

Morgan Lewis, but Plaintiffs have not yet had access to these interviews.13 The

Government admitted during the course of discovery litigation that it never sought access –

nor did eBay voluntarily disclose – the internal interviews with Wendy Jones or Defendant

Wenig.14 After the interviews were conducted, ten individuals were either fired or forced to

resign, despite that only seven were charged criminally.

       Moreover, in email chains from August 6-7, 2019, Defendants Wenig, Wymer, and

Baugh are discussing with members of the eBay legal department, to include Marie Huber

and Aaron Johnson, an “eBay imposter Twitter account,” which also mentions

EcommerceBytes. The parties on the email chain discussing using lawful means to shut

down the eBay imposter Twitter account, but the final email consists of Defendant Wymer

directing the others to do “Whatever. It. Takes” to eradicate both the Twitter account and

EcommerceBytes. R437-439. Johnson, from eBay legal, also inquires whether Defendant

Baugh had any “news/developments on [his] end,” suggesting Defendant Baugh was

keeping the superiors up to date on his progress. R437.




12
   Wendy Jones was Defendant Baugh’s direct supervisor, and along with Defendants
Wenig and Wymer, was not charged in the criminal proceedings.
13
   eBay outlined in its PowerPoint to the government that 98 individuals were interviewed,
and an excess of 1,200,000 documents were searched/reviewed. Plaintiffs have not yet had
access to any of the interviews, or the bulk to the million-plus documents reviewed.
14
   Attorney Andrew Phelan of Morgan Lewis provided an affidavit indicating that the
AUSA did not inquire regarding any statements by Devin Wenig, Steve Wymer, or Wendy
Jones. R460-461, ¶ 15.

                                            14
       An earlier email from March 23, 2019 from Marie Huber, to Defendant Popp,

Molly Finn15 and Marc Rome, copying Defendant Baugh, refers to the FidoMaster Tweets,

which was shortly before Defendant Gilbert flew to Natick to scrawl “FidoMaster” on the

Steiner fence, in June of 2019. R100.

       The privilege logs refer to documents dated October 30, 2019 shared by Marie

Huber, Chief Legal Counsel at eBay, to outside counsel, Andy Phelan: (1) “Project Lewis

– Reddit posting and revised statement – Privileged,” and (2) “Project Lewis16 Reddit

posting and draft release Privileged.”17 R187-188.

eBay PowerPoint Presentation to Government

       Also revealed during Defendants Baugh and Harville’s criminal case is a

PowerPoint eBay counsel presented to the Government, in an attempt to prevent eBay

executives and eBay from being charged in the criminal case.18 In that PowerPoint

presentation, eBay admitted it could be charged criminally, stating, “ebay realizes that,




15
   Molly Finn was the Chief Compliance Officer at the time. R14.
16
   “Project Lewis” refers to the Morgan Lewis investigation.
17
   The entries may refer to an October 28, 2019 Reddit post that details that others within
eBay knew about both the issues within the Global Security and Resiliency team, as well
as the campaign against the Steiners before the news broke, and referred to Devin Wenig’s
attacks on the Steiners.

Later privilege log entries from January 6, 2020 refer to “DRAFT Project Lewis Leak
Scenario Press Release.docx”; “DRAFT Project Lewis Leak Scenario Employee
Letter.docx”; and “DRAFT Project Lewis Leak Indictment Scenario Press Release.docx.”
R65.
18
   Although the eBay presentation also advocates for the Government to forgo charging
Wenig and Wymer, Defendants Baugh and Harville’s criminal filings also refer to a
presentation to the Board of Directors. Plaintiffs have not yet had access to this
presentation, but notes that Defendant Wymer was fired after the presentation, and
Defendant Wenig was forced to resign. Other eBay staff also resigned and/or were fired
after this presentation.

                                             15
under the facts and legal principles (e.g., respondeat superior), DOJ could take

enforcement action against the company acknowledges the seriousness of the misconduct

and the company’s responsibility...The conduct of the seven defendants19 was clearly

criminal, and eBay is troubled by the role here of its former-CEO and Chief

Communications Officer in particular.” R5-6. eBay also admitted that Defendants Wenig

and Wymer were “preoccupied with Ina Steiner and eCommercebytes,” and that “their

improper tone contributed significantly to the crimes in Natick.” R13. eBay also admits to

Defendant Baugh’s “unsuitability as a manager.” R25. eBay also admitted that the

investigations revealed that Defendant Wymer destroyed evidence by deleting all texts

about the Steiners and EcommerceBytes, and all texts with Defendants Wenig and Baugh,

and withheld knowledge of the activities during his first interview on August 17, 2019.

R36. There is nothing in the record to determine at this stage if eBay secured Defendant

Wenig’s texts to Wymer and Baugh.

       eBay also acknowledged that the Defendants had “robust reporting channels for the

misconduct,” including PFC supervisors, demonstrating Defendant Zea was acting as an

agent of PFC. R25. Through the investigation, eBay claimed it learned of the “Alternative

Work Force expensing loophole,” i.e., an expensing loophole through PFC.20 R29.

       All of extrinsic evidence offered by Plaintiffs is contained within public pleadings,

signed and affirmed by attorneys in good standing on behalf of parties of this case, and




19
   The PowerPoint presentation also admits that ten employees were either fired or forced
to resign, so it appears the criminal proceedings did not implicate all of the bad actors.
R27.
20
   Plaintiffs do not yet have copies of the contract between eBay and PFC, nor do Plaintiffs
have the expense reports that were dispersed between eBay and PFC to fund this
conspiracy.

                                             16
should be considered by this Court where the authenticity of these documents cannot

reasonably be questioned by the Defendants in the instant proceedings. See Watterson, 987

F.2d at 4.

                                         Argument

   I.        The Plaintiffs have set forth a plausible claim of Intentional Infliction of
             Emotional Distress against Defendants Wenig, Wymer and Cooke.

        The Steiners have set forth sufficient evidence at this stage to demonstrate

Defendants Wenig, Wymer and Cooke, while fulfilling their respective roles: (1) knew, or

should have known their conduct would cause emotional distress; (2) that the conduct was

extreme and outrageous; (3) that the conduct caused emotional distress; and (4) that the

emotional distress was severe. See Polay v. McMahon, 468 Mass. 379, 385 (2014). Each of

their respective conduct “go[es] beyond all possible bounds of decency, and [is] regarded

as atrocious, and utterly intolerable in a civilized community.” Roman v. Trustees of Tufts

College, 461 Mass. 707, 718 (2012).

   Defendant Wenig

        Defendant Wenig essentially urges this Court to consider one text in a vacuum,

while ignoring his role at eBay, and his actions leading up to his text message ordering his

subordinates to take Ina Steiner down. The complaint contains more than a text that

implicates Wenig. Every defendant who has pled guilty in the criminal cases admitted that

their actions were premised upon directives from Defendants Wenig and Wymer,

Executives 1 and 2. Each of the criminal defendants acknowledged that all of their actions

were taken at the request of Wenig and Wymer to alter or shut down the Steiner’s reporting

on eBay, and that they knew that their intention was to cause the Steiners severe emotional

distress. When considering the totality of the Complaint, and all reasonable inferences, the



                                             17
Plaintiffs have set forth a plausible claim for relief with respect to Defendant Wenig and

the intentional infliction of emotional distress claim. See Ocasio-Hernandez, 640 F.3d at

14.

       At the time of the conduct, Defendant Wenig was the CEO of eBay, a massive and

powerful company with near limitless resources, when he directed subordinates to take

down a two-person trade publication simply because he was unhappy with what he

believed to be negative reporting about him, and eBay.

       The Steiners’ reporting about eBay that Defendant Wenig and others deemed

negative primarily involved criticisms of Defendant Wenig, his income, and his decisions

in managing eBay. In other words, the reporting directly implicated Defendant Wenig’s

reputation, which is apparently held by him in high regard given the outline of his

background set forth in his Motion to Dismiss. (Wenig MTD at 1-2). Defendant Wenig

required subordinates to keep him up-to-date on all reporting by EcommerceBytes relating

to eBay.

       Even Defendant Wenig’s wife was so aware of the tensions surrounding the

EcommerceBytes reporting and a comment on an article referring to Defendant Wenig as a

“con artist and a thief” that she texted Defendant Baugh directly. While Defendant Wenig

stresses that he did not directly hire or supervise Defendant Baugh, it is very telling that

even Defendant Wenig’s wife felt Defendant Baugh to be the appropriate person to contact

to keep informed about negative reporting on Defendant Wenig.

       Moreover, contrary to Defendant Wenig’s claim, his conduct did not merely consist

of one text directing Defendant Wymer to “take her down.” On April 20, 2019, Defendants

Wenig and Wymer were discussing Wall Street Journal coverage of eBay and Defendant




                                              18
Wenig stated, “Fuck them. The journal is next on the list after [Ina Steiner].” R361, ¶19.

On May 31, 2019, in direct response to an EcommerceBytes article, Defendant Wenig

texted Defendant Wymer, “Take her down.” R361, ¶20. Over two months later, on August

1, 2019, Defendant Wenig texted to Defendant Wymer – in response to an article Steiner

published criticizing Defendant Wenig’s strategy in dealing with Amazon through a

lawsuit – “[Ina Steiner] is out with a hot piece on the litigation. If you are ever going to

take her down…now is the time.” R365, ¶ 11. In other words, Defendant Wenig and

Defendant Wymer engaged in months-long discussions aimed at taking the Steiners down.

       In response to Defendant Wenig’s directive on August 1, 2019 to take down

Steiner, Defendant Wymer immediately contacted Defendant Baugh, again, the same

person Defendant Wenig’s wife reached out to regarding negative reporting on Defendant

Wenig. Defendants Wenig and Wymer did not utilize the legal department to consider

legal remedies, or public relations to deal with what they perceived to be the Steiner

problem, but rather the director of security who had a history of engaging in alarming

behavior such as stabbing chairs, harassing subordinates, and who had the knowledge and

capabilities based on his law enforcement background to use unconventional means to deal

with the Steiners, and who even eBay now admits was “unsuitab[le] as a manager.” R25.

       The texts between Defendants Wymer and Baugh also suggest off-line

conversations between Defendants Wenig and Wymer other than the texts to take Steiner

down. In a text message on August 1, 2019, Defendant Baugh texted Defendant Wymer,

“[Wenig] said to burn her to the ground correct?” Where the texts between Defendants

Wenig and Wymer do not reflect that language, it suggests the text messages accessible to

the Steiners at this stage are not the only communications that occurred.




                                              19
       Defendant Wenig contends that the texts did not suggest Wenig intended to cause,

or knew that his directive or order would cause emotional distress.” (Wenig MTD at 24).

Taking logical inferences, however, suggests a plausible claim for relief. The facts pleaded

demonstrate that Defendant Wenig became increasingly enraged by the EcommerceBytes

reporting, and required subordinates to keep him updated on the latest, at all hours of the

day and night. It reached the point where even his wife was contacting Defendant Baugh,

suggesting the reporting had become all-consuming to Defendant Wenig. He then, as CEO,

directed that others “take her down,” and used the head of security to carry out the

directive. While it was Defendant Wymer who ultimately communicated directly with

Defendant Baugh, that Defendant Wenig’s wife contacted Defendant Baugh about negative

reporting suggests Defendant Wenig likewise had dealings with Baugh relating to the

Steiners. At this point, this circumstantial evidence “suffices to clarify a protean issue such

as [Wenig’s] motive or intent.” See Rodriguez-Reyes v. Molina-Rodriguez, 711 F.3d 49, 56

(1st Cir. 2013).

       It is reasonable to believe additional discovery in the possession of the Defendants

will reveal further information regarding Defendant Wenig’s involvement, intent, and

communications with the other Defendants. As discussed supra, there is at least one

communication between Defendants Wenig and Baugh after the fact, where within days of

the commencement of the investigation by Natick Police Department, Defendant Wenig

indicated he would be returning from his sabbatical the next day, and remarked “the

cavalry is back.” R545. Additionally, both Wendy Jones – Defendant Baugh’s direct

supervisor – and Defendant Wenig were interviewed by eBay legal counsel and/or Morgan

Lewis but the Steiners have not yet had access to these interviews. Moreover, eBay




                                              20
presented a Powerpoint to the Government in support of the appeal that executives and

eBay not be charged where eBay admits, based on the evidence revealed during the

internal and external investigations, the government could charge Defendants Wenig,

Wymer and eBay. All of this information is in the Defendants’ control, so “some latitude”

is appropriate in “applying the plausibility standard.” Garcia-Catalan, 734 F.3d at 104.

         While Defendant Wenig has argued he could not plausibly know Defendant Baugh

and others would engage in the conduct alleged in the Complaint, it begs the question as to

what he believed would happen. Defendant Wenig did not instruct that the legal

department send a cease and desist letter to the Steiners, nor did he direct the Public

Relations department to release neutralizing statements or reach out to the Steiners to

resolve any conflict. Instead, the director of security was enlisted to “take her down.”

         At this stage, the Steiners have pled sufficient evidence to demonstrate that

Wenig’s conduct was extreme and outrageous in directing his subordinates to take down a

reporter due to what he perceived to be negative news coverage, and that he knew or

should have known that his directive would cause the Steiners emotional distress. The

Steiners have set forth a plausible claim for relief to entitle them to “unlock the doors of

discovery” and proceed with the intentional infliction of emotional distress claim against

Defendant Wenig. See Ocasio-Hernandez, 640 F.3d at 19, quoting Iqbal, 556 U.S. at

678.21




21
   Notably, in Defendants Baugh and Harville’s criminal case, additional emails have come
to light implicating Defendant Wenig, suggesting discovery would further substantiate the
Steiners’ claim. In one email just after Defendant Baugh notified Defendant Wymer that
the plan was going awry, Defendant Wenig emailed Baugh that he would be returning he
next day and “the cavalry is back.” R545.

                                              21
     Defendant Wymer

        After receiving orders from Defendant Wenig, CEO of eBay, to take Steiner down,

he immediately texted Defendant Baugh, “[h]atred is a sin” and “I am very sinful.” R366, ¶

39. Not needing any explanation as to context or who or what Defendant Wymer was

referring to, Defendant Baugh responded that he was ready to escalate and he was not

“fucking around with her anymore.” R366, ¶ 39. Defendant Wymer responded, “[a]men. I

want her DONE.” R366, ¶ 39. Defendant Wymer further stated, “[Ina Steiner] is a biased

troll who needs to get BURNED DOWN…I want to see ashes. As long as it takes.

Whatever it takes.” R370-371, ¶¶ 55-56.

        Defendant Wymer also emailed22 complaining that the EcommerceBytes website

“gives me ulcers, harms employee moral [sic], and trickles into everything about our

brand. I genuinely believe these people are acting out of malice and ANYTHING we can

do to solve it should be explored. Somewhere, at some point, someone chose to let this

slide. It has grown to a point that is absolutely unacceptable. It’s the ‘blind eye toward

graffiti that turns into mayhem syndrome and I’m sick about it. Whatever. It. Takes.”

R369, ¶ 49.

        Defendant Wymer, as Senior Vice President and Chief Communications Officer of

eBay promised Defendant Baugh he would “manage any fallout.” R366, ¶ 39.Once it was

clear the Natick Police Department was involved and investigating the defendants,

Defendant Baugh emailed Defendant Wymer requesting the “top cover” previously




22
  This email not only went to Defendant Baugh, but also Marie Huber and Aaron Johnson.
R437.

                                              22
promised by Defendant Wymer. R400, ¶ 177. In his role as Chief Communications Officer,

Defendant Wymer was in charge of Public Relations. Instead of addressing the Steiners’

reporting by releasing a statement, or utilizing other traditional methods of dealing with

“negative” press through the Public Relations department, Defendant Wymer reached out

to Defendant Baugh, head of security.

       Again, like Defendant Wenig, common sense and taking all reasonable inferences

suggests that in enlisting the security department to “burn Ina Steiner down” – especially

given Defendant Baugh’s reputation and behavior at eBay – would lead to conduct that

would cause severe emotional distress to the Steiners. Given Defendant Wymer’s directive

that “anything they could do to solve it should be explored” to someone with Defendant

Baugh’s background leads to the reasonable inference that Defendant Wymer did not want

the Steiners handled with conventional means, especially given his directive to do

whatever it takes. Defendant Wymer deleted all of his emails, text messages, and two

phone calls with Defendant Baugh23 about the Steiners after the Natick Police began their

investigation. Defendant Wymer also deleted emails and text messages with Defendants

Baugh and Wenig. Defendant Wymer would not cooperate with any internal investigation.

Defendant eBay found Wymer’s conduct criminal in nature and represented to the

Government that he could be indicted. eBay even admitted it could be charged criminally,

stating, “ebay realizes that, under the facts and legal principles (e.g., respondeat superior),

DOJ could take enforcement action against the company…eBay acknowledges the

seriousness of the misconduct and the company’s responsibility. The conduct of the seven




23
  The two deleted calls were from August 22 and 24, 2019 and were 10+ minutes each.
R36.

                                              23
defendants was clearly criminal, and eBay is troubled by the role here of its former-CEO

and former-Chief Communications Officer in particular.” R5-6.

       At this stage, the Steiners had pled sufficient evidence to demonstrate that

Defendant Wymer’s conduct was extreme and outrageous in directing his subordinates to

burn Ina Steiner to the ground, and that he knew or should have known that his directive

would cause the Steiners emotional distress. The Steiners have set forth a plausible claim

for relief as to the intentional infliction of emotional distress claim against Defendant

Wymer. See Ocasio-Hernandez, 640 F.3d at 19, quoting Iqbal, 556 U.S. at 678

Defendant Cooke

       Defendant Cooke claims dismissal is warranted on the intentional infliction of

emotional distress claim because while plaintiffs alleged Defendant Cooke was one of

three people who approved tweets drafted and sent by Popp, “the Complaint is entirely

devoid of any supporting factual allegations regarding the tweets Mr. Cooke purportedly

approved, such as the nature of his approval and which tweets he was involved in

approving.”

       Defendant Cooke overstates the Plaintiffs’ burden at the pleading stage. Setting

forth sufficient facts to satisfy the claim is plausible does not require “a high degree of

factual specificity.” Garcia-Catalan, 734 F.3d at 103. Requiring highly specific facts

within the Complaint “is misplaced at the pleading stage,” and is “reserved for summary

judgment and trial.” Rodriguez-Reyes, 711 F.3d at 53. As the Court has emphasized,

“[n]otwithstanding the neoteric plausibility standard, no ‘detailed factual allegations’ are

required in a complaint.” Id., quoting Iqbal, 556 U.S. at 677-78. See also Swierkiewicz v.

Sorema, 534 U.S. 506, 512 (2002).




                                              24
       The Complaint clearly alleges that Defendant Cooke approved tweets drafted by

Popp, and sent using the Twitter handle @Tui_Elei. Complaint ¶ 79. The messages

included the following:

   •   “I guess im goin to have to get ur attention another way bitch. . .”

   •   “U don’t have the balls to talk to me?? Stop hiding behind ur computer screen u
       fuckin cunt!!!”

   •    “Ur fat pussy husband [David Steiner] needs to be put in line cunt”

   •   “after he takes the plugs out of his asshole . . . fucking pussies!!!”

   •   “U are sick motha fuckers . . . and every one will kno! U fuckin cunt ass bitch!!”

       R374-375.

       Alleging that Defendant Cooke approved these Tweets is sufficient at the pleading

stage, where the allegation is not merely conclusory. See Ocasio-Hernandez, 640 F.3d at

10 (“The district court erred by not affording the plaintiffs’ allegations the presumption of

truth to which they were entitled.”). In addition, attached to the Complaint was the

affidavit in support of the criminal complaint that further detailed Cooke’s actions.

       Moreover, Cooke should be barred from denying his conduct in his motion to

dismiss under the principles of judicial estoppel. Defendant Cooke admitted during his plea

hearing that he attended an August 6, 2019 meeting with Defendants Baugh, Popp and

Gilbert where they discussed the conspiracy, and the decision to send anonymous and

harassing Twitter messages to Ina Steiner. R495. Defendant Cooke also admitted he was

part of the WhatsApp group where the harassing messages were vetted. R495. In response

to discussions regarding the groups’ plan, Defendant Cooke sent a “thumbs up” emoji.

R495. On August 20, 2019, when Baugh, Gilbert and Popp were discussing the in-person

surveillance, that they had “burned two cars” and that “[the Steiners] couldn't prove


                                              25
anything. They are seeing ghosts now. LOL”, Defendant Cooke responded, “Perfect.”

R496. That same day, Defendant Gilbert reported to the group, “We have known the

targets have been very impacted by this op. Perfect time for the next phase,” to which

Defendant Cooke replied, “Yes!” R496.

       Defendant Cooke admitted during his plea hearing – as did Defendants Baugh,

Harville, Gilbert, Popp, Stockwell and Zea – that the campaign was intended to intimidate

and harass the Steiners. Moreover, Defendant Cooke, as well as the other pleading

defendants, admitted that their conduct was intended to cause substantial emotional

distress. R279, 288.

       During Defendant Cooke’s sentencing hearing, he took full responsibility for the

actions he knew would gravely impact the Steiners and admitted that “a group of people

got together and immorally and illegally rationalized and justified horrific behavior in

order to please the boss.” R341. He made these admissions both during his plea and

sentencing, in order to receive a lesser sentence than recommended by the Government and

in fact did receive a lower sentence than that requested by the Government.

       “Judicial Estoppel is an equitable doctrine that prevents a litigant from taking a

litigation position that is inconsistent with a litigation position successfully asserted by him

in an earlier phase of the same case or in an earlier court proceeding.” RFF Family P’ship,

LP v. Ross, 814 F.3d 520, 527 (1st Cir. 2016) (quoting Perry v. Blum, 629 F.3d 1,8 (1st Cir.

2010). Judicial estoppels, primary utility is to safeguard the integrity of the courts by

preventing parties form improperly manipulating the machinery of the judicial system.

Alternative Sys. Concepts, Inc. v. Synopsys, Inc. 374 F.3d 23, 33 (1st Cir. 2004). “[c]ourts




                                              26
typically invoke judicial estoppel ‘when a litigant tries to play fast and loose with the

courts.” RFF Family P’ship, LP, 814 F.3d at 527-28 (quoting Perry, 629 F.3d at 8).

       In order for judicial estoppel to apply, the Court must apply a two factor test: (1)

“the legal or factual assertion advanced in the earlier judicial proceeding must be ‘directly

inconsistent’ with the assertion made in the current forum,” and (2) “the court must have

accepted or adopted the assertion made at the earlier proceeding.” Howell v. Town of

Leyden, 335 F.Supp.2d 248 (D. Mass. 2004), citing Alternative Sys. Concepts, Inc., 374

F.3d 23, 33 (1st Cir. 2004). “[w]hile it is not a formal element of a claim of judicial

estoppel, courts frequently consider a third factor absent an estoppel, would the party

asserting the inconsistent position derive an unfair advantage?” Id; see also Guay v.

Burack, 677 F.3d 10, 16 (1st Cir. 2012). The rationale behind judicial estoppel is that “the

potential exists that the judicial process will be endangered by inconsistent determinations

applying to the court by the party asserting the contrary positions.” Alternative Sys.

Concepts 374 F.3d at 33.

       Here, both factors apply, as well as the unfair advantage consideration. During the

criminal proceedings, in Defendant Cooke’s plea hearing, he admitted to meeting with

Defendants Baugh, Popp and others to formulate the plan to send harassing Twitter

messages to the Steiners. During a WhatsApp group chat, he engaged in the discussion

relating the content of the Tweets, and approved of the messages. Defendant Cooke now

claims the Steiners do not have sufficient evidence to demonstrate he in any way

participated in the scheme to harass them.

       The Court accepted Cooke’s admissions both during a plea hearing, and when

Defendant Cooke was attempting to seek a reduced term of imprisonment during his




                                              27
sentencing hearing. The Court then took Defendant Cooke’s statements during sentencing

into consideration, and varied from the Government’s recommendation, and instead of

sentencing him to 30 months of incarceration, he was sentenced to 18 months of

incarceration. R345.

           Both factors relating to judicial estoppel apply in that Defendant Cooke now makes

assertions that directly contradict his earlier admissions, and the Court relied on his earlier

admissions in granting him a reduced sentence. See Alternative Sys. Concepts, Inc., 374

F.3d at 33. As such, Defendant Cooke should be barred from asserting a contrary position

in his motion to dismiss, so this Court should deny Defendant Cooke’s request to dismiss

this count of the complaint against him.

     II.      The Plaintiffs have set forth a plausible claim for stalking against each of
              the Defendants, the statute – although a California statute – applies in
              Massachusetts, or at the very least to the conduct that occurred in
              California but directed into Massachusetts, and there is no conflict of law
              issue. (ALL DEFENDANTS)

           Collectively, the Defendants24 allege that the California stalking statute does not

apply to conduct occurring in Massachusetts, so the stalking count should be dismissed.

First, the Defendants ignore that the bulk of the activities aimed at stalking and harassing

the Steiners occurred while the Defendants were in California. Therefore, even if the

Court were to interpret the statute as only covering activities that occurred in California,

the Plaintiffs have still maintained a cause of action for stalking.

           Second, contrary to the Defendants’ contentions, the statute does, in fact,

encompass activity that occurs in Massachusetts, especially here where the conduct in




24
 All Defendants who filed a Motion to Dismiss (i.e., all Defendants other than Harville)
moved to dismiss the Stalking claim.

                                                 28
California and the conduct in Massachusetts were a part of one ongoing chain of events.

Moreover, the purpose of the statute weighs in favor of applying the statute to all conduct

in this case that was designed to harass, surveille and stalk the Steiners.

          Third, conflict of law provisions do not bar use of the statute in Massachusetts.

Although Massachusetts does not have an equivalent statute, had the Steiners sued in

California, the statute would have applied. Therefore, it makes little sense to bar use of the

statute because they chose the more appropriate and convenient forum to file the instant

action.

                      i.   There is no conflict of law, and even if there was, the factors
                           weigh in favor of applying the California Stalking statute.

          Preliminarily, Plaintiffs maintain that although each of the Defendants argue there

is a conflict of law because Massachusetts does not have a civil stalking statute, this is not

correct. “The first step in a choice of law analysis is to determine whether an actual

conflict exists between the substantive laws of the interested jurisdictions.” Reicher v.

Berkshire Life Ins. Co. of Am., 360 F.3d 1, 4 (1st Cir. 2004). Where California has a

stalking statute, but Massachusetts does not, no conflict exists. In fact, the case cited by

eBay in support of the proposition that where there is “no parallel in Massachusetts law”

this constitutes a conflict of law, states the opposite. (eBay Motion to Dismiss at 28), citing

Levin v. Dalva Bros. Inc., 459 F.3d 68, 74 (1st Cir. 2006).

          In Levin, Plaintiff instituted the lawsuit in Massachusetts, for conduct that arose, in

part, in New York. Id. at 74. Since there was no parallel Massachusetts express warranty

statute, the Court unquestionably applied the New York express warranty statute. Id. Here,

the same result should follow: where there is no Massachusetts civil stalking statute, the

Court should find no conflict of law exists and apply the California stalking statue.



                                                29
       The decision cited by PFC in support of the argument that the California statute

should not apply also does not support the Defendants’ cause. (PFC Motion to Dismiss at

32), citing Burleigh v. Alfa Laval, Inc., 313 F. Supp. 3d 343, 353-54 (D. Mass. 2018). In

Burleigh, Plaintiff, a Maine resident, sued in Massachusetts. Id. at 353. The injury also

occurred in Maine. Id. Plaintiff urged the Court to apply the Massachusetts wrongful death

statute, which had no cap on damages – where the Maine statute had a cap – and where the

Maine statute imposed a higher standard of liability and burden of proof than the

Massachusetts statute. Id. at 350. In assessing the competing interests, the Court applied

the Maine statute. Id.

       The rationale in applying Maine law in Burleigh simply does not apply in this case

where the Court stated it would be “anomalous for [the non-forum state] to insist on

providing greater benefits to its citizens under another state’s law than it provides to its

citizens under its own law.” Id. at 357. Here, it makes perfect sense to provide the Steiners

with the protections of a California law, where outside residents – while in California, then

by travelling to Massachusetts – reached into our state to harass, stalk, threaten and

surveille Massachusetts residents, although the conduct is prohibited in their home state.25




25
   Notably, Defendant Cooke asserted during his sentencing hearing that he advised the
other Defendants that “publication of the victims’ address…was illegal in California. He
also told the group that in California, the messages could not be threatening, and if the
victims said ‘stop,’ the messages had to stop.” R508. Defendant Cooke claimed that
“[w]hen deliveries of unwanted items were discussed, Mr. Cooke told the group that while
the deliveries might seem funny, the Postal Inspectors would not look kindly on misuse of
the mails. He also explained that deliveries, like messages, could not be
threatening…When use of a possible GPS tracking device was discussed, Mr. Cooke
warned trackers were illegal in California and possibly illegal in Massachusetts and
suggested contacting a Massachusetts private investigator to find out. By the end of the
meeting, Mr. Cooke believed Baugh had accepted his advice not to send threatening
messages, not to do their own surveillance, not to use a tracker without first finding out if it

                                               30
Given that there is no actual conflict in the laws of California and Massachusetts, this

Court should permit Plaintiffs to assert a cause of action under the California stalking

statute.

           Even if, however, the Court finds there is a conflict, the factors weigh in favor of

applying the California stalking statute. See Restatement (Second) of Conflict of Laws §

145 (four factors: (1) “the place where the injury occurred”; (2) “the place where the

conduct causing the injury occurred”; (3) the “residence,” “place of incorporation and

place of business of the parties,” and (4) “the place where the relationship, if any, between

the parties is centered.”).

           While the physical stalking occurred in Massachusetts, it was part of a single

scheme originating in California directed at the Plaintiff’s in Massachusetts, all other

factors weigh in favor of applying the California statute. All of the Tweets and Twitter

messages threatening the Steiners originated from California. The Defendants sent the

packages, and posted Craigslist and other ads from California. Even when four Defendants

travelled to Massachusetts to physically stalk and surveille the Steiners, Defendants that

remained in California listened to the Natick Police Department dispatch to alert

Defendants Baugh, Harville, Popp and Zea as to police presence, to substantially aid in the




was legal, not to use role play, not to use the mails improperly, and not to send threatening
deliveries.” (Id.).

In sum, Defendant Cooke admitted that he had knowledge that the conduct was illegal
under California law (and apparently, specifically, the stalking statute where he references
the requirement that they stop if the Steiners said “stop”), and potentially in Massachusetts
as well, that he advised other members of the conspiracy of this fact, and that they still
decided to proceed with the conspiracy, including with acts that violated the California
stalking statute.

                                                 31
stalking and surveillance efforts.26 Defendants that stayed in California also continued to

dox the Steiners on Twitter and Craigslist, and send threatening messages while in the in-

person stalking occurred in Massachusetts. California law recognizes that state remedies

may extend to out-of-state parties when the parties are harmed by wrongful conduct

occurring in California. Norwest Mortgage, Inc. v. Superior Court, 72 Cal. App. 4th 214,

224, 85 Cal. Rptr. 2d 18 (1999).

       Taking the conduct in its totality, the actual physical surveillance and stalking

occurred in Massachusetts, but the installation of fear leading up to those acts all occurred

in California, and the in-person stalking was facilitated by conduct that continued while the

Defendants remained in California. Given the nature of the events, the stalking and

surveillance in Massachusetts would not have had the same effect without the conduct in

California; the Steiners only noticed the presence of the black vehicle circling the block

and following the Steiners, and the fear it caused, occurred only because of the realization

that whoever was engaging in the extremely disturbing online threats and mailing packages

and other deliveries were now, literally, at their doorstep. In short, the gravamen of the

Defendants’ conduct was a stalking that occurred in California; the Massachusetts in-

person stalking was simply the crescendo of the totality of acts that caused the Steiners

extreme alarm and turmoil.

       Third, a majority of the parties are residents of California, and eBay’s principal

place of business is in California. All individual Defendants resided and worked in




26
   Defendant Baugh also admitted during his plea hearing that they used a conference line
to communicate during the surveillance efforts in order to monitor police activity to evade
detection. R283.

                                              32
California at the time of the acts. As a result, this factor likewise favors applying the

California statute.

        Fourth, contrary to the Defendants’ arguments, the relationship between the parties

was centered in California, not Massachusetts. The relationship between the Steiners and

eBay consisted of the Steiners reporting on eBay, headquartered in California. For several

years, eBay would invite the Steiners to interview executive team members and other eBay

employees and contractors. Complaint at 12, ¶ 42. Additionally, more than 50 eBay

executives and employees subscribe to the EcommerceBytes newsletter. The relationship

between the Steiners and eBay is centered on eBay’s location and its activities, not

EcommerceBytes. The Steiners could report on eBay from literally anywhere; Natick was

not central to EcommerceBytes, but rather eBay’s California business was the essential

focus of the relationship.

        Even if this Court finds there is an actual conflict of law issue, in assessing the

totality of the factors, the California statute must prevail relating to the stalking claim.

                      ii.   The fact that the victim’s suffered the injury from the Defendants’
                            conduct in Massachusetts does not render the California statute
                            inapplicable.

        While the Defendants physically stalked the Steiners in Massachusetts, the entirety

of the Defendants’ actions – even the conduct that occurred through electronic means and

through the mail – fall within the conduct proscribed by the California stalking statute.

        As set forth in the Complaint, the Defendants sent a series of harassing and

threatening Twitter messages, while simultaneously mailing packages to the Steiner

residence, including a bloody pig mask from the movie SAW and a book entitled

“Surviving Loss of a Spouse” both of which the Steiners perceived as threats on their lives.




                                                33
The Defendants also mailed live spiders and cockroaches, and attempted to send a pig

fetus. While the Steiners were receiving these disturbing packages in Massachusetts, the

Defendants were simultaneously sending messages such as “do I have your attention now,

cunt?” All of this conduct originated in California. Defendants, while in California, also

signed the Steiners up for dozens and dozens of harassing emails, from websites such as

the Communist Party, and various sex websites.

       Even though the Defendants physically surveilled and stalked the Steiners in

Massachusetts, the planning and facilitating occurred in California. Before Defendants

Baugh, Harville and Zea travelled to Massachusetts, Defendant Baugh practiced installing

a GPS on a similar vehicle to the Steiners in an eBay parking lot. Presumably, the GPS

device was purchased in California. Even after Defendants Baugh, Harville and Zea – and

later Defendant Popp – arrived in Massachusetts, the other Defendants continued to send

harassing and threatening Twitter messages, posted ads on Craiglist and other websites

inviting strangers to the Steiners home for sex parties and advertising yard sales, and

arranged for a delivery of a funeral wreath to the Steiner’s home. When Defendants Baugh,

Harville and Zea stalked and surveilled the Steiner residence and David while he drove

throughout Natick, Defendant Popp – while remaining in California – monitored the NPD

dispatch so she could alert the Defendants as to any police detection.

       In short, although the most disturbing act of surveilling and stalking the Steiners in

their home and while driving occurred in Massachusetts, the Defendants engaged in

countless other bewildering, harassing and tortious acts from California. Additionally, the

physical stalking in Massachusetts could not have occurred without the California acts, and

would not have resulted in the same measure of fear, anticipation and torment to the




                                             34
Steiners without the California acts leading up to those events. A black van merely circling

the Steiners’ block and following them would not have had the same force and would not

have caused the Steiners to “see ghosts” without the California conduct leading up to those

events. See United States v. Walker, 665 F.3d 212, 225-226 (1st Cir. 2011) (noting pre-

travel threats through email placed victim’s in reasonable apprehension of violence once

defendant travelled across state lines to victim’s location). It was all part of a larger plan

that could not be carried out without support.

        While the Defendants argue that the most “egregious” acts occurred in

Massachusetts, this is irrelevant. Not only was all of the conduct egregious, the statute

encompasses all of the aforementioned behavior, where the statute prohibits a “pattern of

conduct the intent of which was to follow, alarm, place under surveillance, or harass the

plaintiff.” Cal. Civ. Code § 1708.7(a)(1) (emphasis added). The statute also specifically

includes threats “communicated by means of an electronic communication device,”

suggesting the legislature contemplated actions occurring outside of California borders. Id.

at (b)(2).

        Whether the injury occurred in California is not solely determinative in evaluating

the application of California law. Diamond Multimedia Sys. Inc. v. Superior Court 19 Cal.

4th 1036, 1063-64 80 Cal. Rptr. 2d 828, 968l; Norwest Mortgage, Inc. v. Superior Court,

72 Cal. App. 4th 214, 224, 85 Cal. Rptr. 2d 18 (1999).

        Although the Defendants maintain that the statute does not apply to injuries

occurring outside of California, the California Courts have decided otherwise. See

Diamond Multimedia v. Superior Ct., 968 P.2d 539, 554 n. 20 (Cal. 1999). In Diamond

Multimedia, the Court found that even if the resulting effect of the conduct occurs out of




                                               35
the state, a California statute applies as long as the conduct leading to liability occurs

within California confines. See Diamond Multimedia v. Superior Ct., 968 P.2d 539, 554 n.

20 (Cal. 1999) (applying state securities law applies to false statements occurring in

California although transaction occurred out of state). See also Kearney v. Saloman Smith

Barney, 137 P.3d 914 (Cal. 2006) (applying California statute where Georgia company

unlawfully recorded conversations with customers in California).

       Also contrary to the Defendants’ argument, the purpose of the statute weighs in

favor of applying the stalking statute in this case. The California legislature stated that the

purpose of the statute is to protect the “health, safety, and welfare of the people of the State

of California, and shall be liberally construed to effectuate those purposes.” Cal. Civ.

Code § 1708.7(b)(7)(g) (emphasis added). Although the Steiners are Massachusetts

residents, curtailing this type of behavior by employees of a massive California company

will also serve to protect the people of the state of California, where it will serve as a

deterrent effect both to eBay, and other large companies in California that may consider

engaging in such egregious behavior to attack a private citizen.

       Even if the Court were to parse out the stalking conduct that occurred in

Massachusetts, and find that the statute does not apply because it was conduct that

occurred outside of California borders, the Steiners have still set forth a cause of action for

stalking relating to the conduct that occurred within California. Therefore, the Defendants

have failed to demonstrate why this count must be dismissed relating to conduct that

occurred within California borders, but where only the injury was suffered outside of

California.




                                               36
       Ultimately, while a portion of the Defendants conduct which constitutes stalking

and harassment under the statute occurred in Massachusetts, the California conduct still

caused the Steiners “substantial emotional distress” and falls within the definition of

stalking per the statute. As a result, the California stalking statute applies, and the Court

should deny the Defendants’ motion to dismiss the Stalking count on the grounds that it

should not apply to any of the Defendants’ conduct, even conduct occurring in California.

                   iii.   Even the actions that occurred in Massachusetts fall within the
                          statute where they were part of an ongoing chain of events.

       Although California has adopted a presumption against extraterritoriality, and looks

to the location of the conduct when applying its statutes, this Court should apply the

California conduct even to conduct occurring in Massachusetts where the Massachusetts

conduct was part and parcel of the ongoing pattern of stalking, threats and harassment

falling within the statute. See Sullivan v. Oracle Corp., 254 P.3d 237, 248 (Cal. 2011)

(“[W]e presume the Legislature did not intend a statute to be operative, with respect to

occurrences outside the state, unless such intention is clearly expressed or reasonably

inferred from the language of the act or from its purpose, subject matter, or history”);

Diamond Multimedia Sys., Inc. v. Superior Court, 968 P.2d 539, 554 n. 20 (Cal. 1999).

       California state remedies may extend to out-of-state parties, however, when the

parties are harmed by wrongful conduct occurring in California. Wang v. OCZ Technology

Group, Inc., 276 F.R.D. 618, 629 (N.D. Cal. 2011), citing Diamond Multimedia, 968 P.2d

at 554; Morgan, et al. v. Harmonix Music Sys., Inc., 2009 WL 2031765, at *2 (N.D. Cal.

2009). Whether the injury in California is not the sole determining factor as to whether

apply California law; the Court also looks to whether the defendant’s conduct occurred in

the forum state. Id.



                                               37
       Here, as discussed supra, the conduct in Massachusetts was one portion of a chain

of escalating events that resulted in the “substantial emotional distress” the Steiners

experienced. Without one aspect of the stalking, harassment, threats, following and

surveillance – when considering the Natick conduct and the California conduct separately

– the totality of the acts would not have had the same force and effect. In other words, had

the Defendants not threatened the Steiners online, and sent them disturbing packages in the

2-3 weeks leading up to the trip to Natick, the van circling their block and following David

Steiner would not have instilled the same level of fear. Likewise, had the Steiners believed

this was an online harassment and stalking scheme – without a fear that the actors would

approach and attack them offline – the online acts would not have been as petrifying.

Taking all of the acts together, however, created a campaign that terrorized the Steiners,

and left them in a state of terrified anticipation as to what would befall them next.

       Additionally, the conduct in California facilitated the conduct in Massachusetts.

The GPS was purchased in California, and Defendant Baugh practiced installing it in the

eBay parking lot. Even while Defendants Baugh, Harville and Zea were stalking the

Steiners, Defendant Popp, from California, monitored the NPD dispatch so the Defendants

in Massachusetts would not be caught. Therefore, the California conduct was necessary to

the in-person stalking, harassment, following and surveillance.

       In fact, the legislative history for the statute demonstrates that the statute was

enacted because “it was believed that existing remedies such as criminal prosecution and

restraining orders were insufficient to deter violent offenders…” thus suggesting the statute

was aimed not only at protecting California residents, but also deterring California

residents from engaging in stalking activities. 2013 CA A.B. 1356 (2014). Therefore,




                                              38
public policy considerations, and the punitive nature of the statute, also support applying

the California statute to all activity committed by California residents, even if directed

outside the forum state.

       Where the full scope of the stalking campaign could not be fully carried out

without both aspects – the conduct occurring in California and the conduct occurring in

Massachusetts – this Court should apply the California stalking statute to all of the

conduct. This would advance the purposes of the statute where it would not absolve

California residents from liability simply because they chose an out of state target. As

such, this Court should deny the Defendants’ motion to dismiss on the grounds that the

California statute should not apply to conduct occurring out of state.

        A. Contrary to Defendant Wenig and Wymer’s contentions, it is not necessary to
           demonstrate they personally participated in stalking the Steiners where it was
           reasonably foreseeable that their directives would result in the conduct.

       Defendants Wenig and Wymer both contend there is no evidence set forth in the

Complaint to suggest either physically participated in the stalking and harassment. The

Steiners, however, have set forth a plausible claim for relief against both Defendants, as set

forth in the section on Intentional Infliction of Emotional Distress. Much like that claim, it

is difficult to conceive what chain of events the Defendants believed their directives would

set in motion, if not a campaign to harass the Steiners.

       The inferences from the Complaint need not be conclusive, only plausible. It is at

least plausible that the directives to Defendant Baugh – who Defendants Wenig and

Wymer knew to be a loose cannon with experience engaging in the behavior at play here –

to “burn her down” and “take her down” would result in the Defendants stalking, harassing

and threatening the Steiners. The Complaint and inferences must be viewed in the context




                                              39
of the events as a whole. The CEO and the Vice President of a powerful corporation were

directing the head of security to eradicate Ina Steiner using whatever means possible, and it

was foreseeable this would result in the type of conduct that occurred here. See Ocasio-

Hernandez, 640 F.3d at 14 (“question confronting a court on a motion to dismiss is

whether all the facts alleged, when viewed in the light most favorable to the plaintiffs,

render the plaintiff’s entitlement to relief plausible”).

        While Defendants Wenig and Wymer allege they did not physically engage in any

stalking, they directed and encouraged the acts by ordering Defendant Baugh to take Ina

down and burn her to the ground. In addition, defendant Wymer deleted all of his emails,

texts, and communications with Defendant Baugh and Defendant Wenig. R36. This

encouragement, when taking the totality of the circumstances and all reasonable

inferences, amounted to aiding and abetting the stalking. See Massachusetts Port Authority

v. Turo Inc., 487 Mass. 235, 244 (2021); Kyte v. Philip Morris, Inc., 408 Mass. 162, 168-

169 (1990). Moreover, California Stalking Statute was amended in June 1998 to include

electronic communications “that it will not matter if the harasser is capable of carrying out

the threat – it will be enough that the target believes the threat to be credible and “had

reasonable fear for his or her safety or the safety of his or her immediate family.”

        Where the requirement of plausibility “simply calls for enough fact to raise a

reasonable expectation that discovery will reveal evidence of the illegal [conduct]” and

where “a material part of the information needed” is “within the defendant’s control” this

Court should allow “some latitude…in applying the plausibility standard.” Garcia-

Catalan, 734 F.3d at 104. As noted previously, there are additional emails that have not

been destroyed that may evince the level of Defendants Wenig and Wymers’ knowledge,




                                               40
their directives, and how involved they were in each of the torts alleged. Moreover, both

Defendants Wenig and Wymer were interviewed, but Plaintiffs had not yet had access.27

          Given the low standard of plausibility, and that common sense and reasonable

inferences suggest Defendants Wenig and Wymer intended to instill fear into the Steiners,

the Court should deny Defendants Wenig and Wymers motion to dismiss on the grounds

that they did not personally engage in the stalking activities.

           B. Defendant Cooke’s claim that Plaintiffs failed to set forth evidence that he
              intended to place the Steiners in fear fails where he approved of the harassing
              and threatening Twitter messages.

          Defendant Cooke alleges that there is no evidence he intended to place the Steiners

in fear. As outlined supra, Cooke, in his plea, admitted that he approved the harassing and

threatening Twitter messages, which accompanied the disturbing package deliveries. He

admitted that he put the Steiners in fear. It is unclear what the intent of such conduct

would be other than to instill fear in the Steiners. Based on his guilty plea, Cooke should

be judicially estopped from making this claim.

          Moreover, when Defendant Baugh sent a WhatsApp message stating, “[t]hey are

seeing ghosts now. LOL”, Defendant Cooke responded, “Perfect.” R496. That same day,

Defendant Gilbert reported to the group, “We have known the targets have been very

impacted by this op. Perfect time for the next phase,” to which Defendant Cooke replied,

“Yes!” R496. These messages demonstrate Defendant Cooke’s intent to place the Steiners

in fear as a result of the Defendants’ collective conduct. This circumstantial evidence

“suffices to clarify a protean issue such as an actor’s motive or intent.” Rodriguez-Reyes v.




27
     Plaintiffs also do not yet have access to emails, interviews and internal investigations.

                                                41
Molina-Rodriguez, 711 F.3d 49, 56 (1st Cir. 2013). Based on his guilty plea, Cooke should

be judicially estopped from making this claim.

          C. Plaintiffs were not required to demand that the activity cease, where it would
             have been both unsafe for them to do so, and where they did not know the
             identity of the perpetrators. (Defendant Cooke)

          Cooke makes a bemusing claim that he cannot be liable for stalking because the

Steiners never demanded the Defendants cease their conduct. The statute, however, clearly

states that a Plaintiff need not demand the conduct cease if the communication was

“impractical or unsafe.” Cal. Civ. Code § 1708.7(a)(3)(A)(ii). Where the Steiners were

unable to determine who was harassing, stalking, intimidating and threatening them despite

their best efforts, and even if they did, it would have been unsafe to communicate such a

request, Cooke is not absolved from liability based on their inability to communicate a

request to stop torturing them. As such, the Court should deny Defendant Cooke’s motion

to dismiss on the grounds that the Steiners did not demand that the Defendants cease their

conduct.

   III.      The Plaintiffs have set forth a plausible RICO claim under Section 1962(c)
             (All Defendants)

          RICO prohibits a person associated with an “enterprise” from conducting the

enterprise’s affairs “through a pattern of racketeering activity” and provides a right of

action for treble damages for any person “injured in his business or property by reason of a

violation. 18 U.S.C. §§ 1962(c), 1964(c). Plaintiff must demonstrate: (1) that an enterprise

affecting interstate commerce existed, (2) that the defendant knowingly joined the

conspiracy, and (3) that the defendant intended to further an endeavor which, if completed,

would have satisfied the pattern requirement of RICO. Aetna Casualty Sur. Co. v. P&B

Autobody, 43 F.3d 1546, 1561 (1st Cir. 1994); United States v. Cianci, 378 F.3d 71, 88 (1st



                                              42
Cir. 2004). The plaintiff does not need to allege that each conspirator agreed to commit (or

actually committed) two or more predicate acts. Salinas v. United States, 522 U.S. 52, 64

(1997). No overt act is required. Id. A defendant may be a part of a RICO conspiracy even

if he has not committed a substantive RICO violation. Cianci, 378 F.3d at 92.

   A. The eBay/PFC Enterprise is an associated-in-fact RICO enterprise

       Under RICO, an “enterprise” includes “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated in fact

although not a legal entity. 18 U.S.C. § 1961(4). The Supreme Court has described an

association-in-fact RICO enterprise as “a group of persons associated together for a

common purpose of engaging in a course of conduct. See United States v. Turkette, 452

U.S. 576, 583 (1981). Such an enterprise is proved “by evidence of an ongoing

organization, formal or informal, and by evidence that the various associates function as a

continuing unit.” Id.

       The Plaintiffs need not demonstrate the enterprise has a particular organizational

structure, nor do members of the group need to have fixed roles; different members may

perform different roles at different times. Boyle v. United States, 556 U.S. 938, 948 (2009).

Under Boyle, an association-in-fact enterprise requires only three structural features: “(1) a

purpose, (2) relationships among those associated with the enterprise, and (3) longevity

sufficient to permit these associates to pursue the enterprise’s purpose.” Id. at 946.

                        i. Contrary to their arguments, eBay and PFC can be sued as
                           defendants where they exist separate and apart from the
                           criminal enterprise.

       While “the same entity cannot do double as both the RICO defendant and the RICO

enterprise,” the Complaint clearly delineates an enterprise separate and apart from the




                                              43
individual defendants. See Miranda v. Ponce Federal Bank, 948 F.2d 41, 44-45 (1st Cir.

1991). In other words, the Plaintiffs have plead sufficiently the existence of an enterprise

distinct from the RICO person. See id. at 45; Schofield v. First Commodity Corp. of

Boston, 793 F.2d 28, 29-34 (1st Cir. 1986).

       As outlined, an association-in-fact enterprise was created involving Defendants

eBay, PFC, Wenig, Wymer, Baugh, Harville, Gilbert, Cooke, Popp, Stockwell, Zea and

John and Jane DOE. The participants in the enterprise coordinated and targeted the

Steiners in a scheme to intimidate, threaten, torture, terrorize, stalk and silence the Steiners

into ceasing their reporting of eBay, as well as conspired to target other journalists,

bloggers and newspapers in order to eradicate all negative reporting on eBay.

   B. Plaintiffs have set forth sufficient evidence at the pleading stage that the
      Defendants engaged in a pattern of racketeering activity.

       Plaintiffs must demonstrate a “pattern of racketeering activity,” with at least two

acts of racketeering within ten years. 18 U.S.C. § 1961(5). A pattern is two or more

“related” predicate acts of racketeering activity, that “amount to or pose a threat of

continued criminal activity.” H.J., Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 239

(1989). There must be either an “close-ended” pattern of racketeering activity, or

“amounted-to continuity,” where the related predicate acts extended over a substantial

period of time. See Eagle Investment Systems Corp. v. Tamm, 146 F.Supp.2d 105 (2001);

H.J. Inc., 492 U.S. at 242.

       Under the “opened-ended” or “threat-of-continuity” approach, the Plaintiff can

establish a pattern even where the predicate acts occurred over a narrow time frame if “the

racketeering acts themselves include a specific threat of repetition extending indefinitely




                                               44
into the future [or]…are part of an ongoing entity’s regular way of doing business.” See

Feinstein v. Resolution Trust Corp., 942 F.2d 34, 37 (1st Cir. 1991).

       Here, the Steiners have set forth a plausible claim of both a close-ended and open-

ended pattern of racketeering activity. The Complaint sets forth sufficient evidence to

demonstrate at the pleading stage that the eBay/PFC enterprise had the goal of eradicating

any negative reporting on eBay, that it harassed at least two people in the past, and that it

discussed eliminating other journalists after taking down the Steiners. Additionally, given

the type of people eBay hired, including Defendant Baugh, when considering common

sense and all reasonable inferences, the Steiners have set forth sufficient evidence at the

pleading stage to demonstrate this was eBay’s regular way of doing business. eBay had

also worked in the past to erroneously remove EcommerceBytes from the internet by

reporting it as a phishing site, and by infiltrating the comment section on the website, in

order to generate ill will and undermine the credibility of the site.

       PFC paid eBay expenses which eBay acknowledged as an “expensing loophole.”

eBay admitted that travel expenses, including plane tickets, hotel rooms, car rentals, and

restaurant meals, were booked “off the grid”, which eBay admits were paid for by PFC.

R29. In addition, eBay admits that PFC’s payment of its expenses related to this

conspiracy allowed other defendants to use burner devices and non-company cash cards

R12. In addition, eBay also admitted that it reviewed PFC expense records, expense

reimbursements, travel reports, and travel reservations. eBay identifies Progressive Force

Concepts in PowerPoint - Principal 7e as “alternative work force (i.e. non-employees)”,

where eBay told the Government it closed an alternative work force expensing loophole in

the Natick matter. R29. Plaintiffs still do not have expense reports that were sent from




                                              45
eBay to PFC, payments of the expenses with the mark up sent from PFC to eBay, and the

contract between PFC and eBay for the payment of expenses off the books. Using this

loophole, Defendant Zea purchased the plane tickets to Natick for her, Baugh and Harville,

all meals and other expenses to further the conspiracy, while both PFC and eBay signed off

on the transactions.

       At this stage, the Plaintiffs have met their low burden of setting forth a plausible

pattern under RICO.

                a. Close-ended

       To demonstrate a close-ended RICO pattern, a plaintiff must allege “a series of

related predicates extending over a substantial period of time” that “amount to a threat of

continued criminal activity.” See Feinstein v. Resolution Trust Corp., 942 F.2d 34, 37 (1st

Cir. 1991). While “predicate acts extending over a few weeks or months…do not satisfy

this requirement,” the Steiners have alleged several predicate acts spanning over several

years, all with the goal of eradicating the Steiner’s reporting: 28

          i. On April 28, 2009, an eBay employee engaged in wire fraud. The employee

             fraudulently posed as an anonymous eBay seller, and wrote criticizing

             remarks in the EcommerceBytes comments section, libeling the website. The

             IP address belonged to an eBay employee in the public relations department.

         ii. In May of 2012, members of eBay engaged in wire fraud. An eBay employee

             from eBay’s audit, fraud and investigations department, while acting in the

             scope of his employment, falsely reported EcommerceBytes as a phishing



28
  The privilege logs and discovery requests in the criminal case where Defendants Baugh
and Harville were charged limited discovery to 2019. As such, plaintiff do not yet have
emails and communications from eBay about eBay’s conduct from 2009-2019.

                                               46
    website, in order to have the website removed from the internet. At that point,

    as eBay was aware, EcommerceBytes had been operating as a legitimate

    website for over 13 years. The fraudulent activity was an attempt to silence

    the Steiners, and eliminate their legitimate reporting on eBay.

iii. On January 28, 2014, an eBay employee engaged in wire fraud. The

    employee, fraudulently acting as a legitimate EcommerceBytes user, attacked

    a long-standing user of the website, fostering a threatening environment

    intended to intimidate users. Interactions with the EcommerceBytes website

    (and all websites), drives Google and other search engine metrics. As a result,

    causing a downturn in interactions with the website has a direct correlation to

    rankings, traffic to the website and, in turn, profits.

iv. On October 15, 2018, an eBay employee engaged in wire fraud. The

    anonymous user posed as an eBay seller and made derogatory comments

    towards users of the EcommerceBytes website. The comments were linked to

    an eBay IP address, and the fraudulent activity had the effect of attacking

    legitimate EcommerceBytes users.

v. In the Spring of 2019, Defendant Baugh and the other Defendants conspired

    to commit mail fraud. The Defendants discussed sending a fake threatening

    letter to the Steiners, with a post-stamp making it appear as if the letter came

    from a disgruntled seller in Texas. The purpose was to attempt to silence the

    Steiners.

vi. On or about June 8, 2019 Defendant Gilbert, at Defendant Baugh’s direction,

    flew cross country from California to Boston and drove to the Steiner’s home




                                     47
             in Natick, Massachusetts and scrawled the word “FIDOMASTER” on their

             fence. This act had the common purpose of attempting to threaten and silence

             the Steiners.

        vii. During the month of August 2019, the Defendants, including but not limited

             to Defendants Baugh, Harville, Cooke, Gilbert, Popp, Stockwell, Zea and

             others stalked, harassed, intimidated, tortured and attempted to silence the

             Steiners through online threats, package deliveries, in-person stalking and

             surveillance, and then destroyed evidence, obstructed justice and tampered

             with witnesses and victims.

       While the Defendants contend that the conduct was too sporadic to entail an open-

ended pattern of continuity, it demonstrates a years-long campaign to attempt to shut down

the EcommerceBytes’ website, and when the website was able to withstand the attacks, the

enterprise turned its sights on eradicating the Steiners, evincing an ongoing pattern of

racketeering activity.

       There was also considerable conspiring relating to the goal of taking down the

Steiners, which started in the top echelons. For example, on April 10, 2019, Defendant

Wymer texted Defendant Wenig, “We are going to crush this lady,” sending along a link to

the Newsletter’s coverage that day of Defendant Wenig’s compensation. Criminal

Affidavit at 19. On April 20, 2019, while discussing the Wall Street Journal’s coverage of

Defendant Wenig, he texted Defendant Wymer, “fuck them. The journal is next on the list

after [Ina Steiner].” R361, ¶ 19. On May 31, 2019, commenting on the Newsletter’s

coverage of eBay that day, Defendant Wymer texted Defendant Wenig, “Shockingly




                                             48
reasonable...” Defendant Wenig replied, “I couldn’t care less what she says.” Seconds

later, Defendant Wenig added, “Take her down.” R361, ¶ 20.

       Moreover, these are the events the Steiners know about. The full breadth of the

enterprise’s activities is within the possession of the Defendants, and where “a material

part of the information needed is likely to be within the defendant’s control” the Court

should grant the Steiners “latitude…in applying the plausibility standard.” See Saldivar v.

Racine, 818 F.3d 14, 23 (1st Cir. 2016). Where the Steiners have set forth numerous events

occurring over a several year span, it is at least plausible they will maintain a cause of

action under the close-ended theory, which is sufficient to “unlock the doors of discovery.”

See Ocasio-Hernandez, 640 F.3d at 17.

       Where Plaintiffs have set forth a plausible claim, this Court should deny the

Defendants’ motions to dismiss on the grounds that they did not establish a closed-ended

pattern of racketeering activity.

                b. Open-ended

       The Defendants allege in the various motions to dismiss that the Plaintiffs failed to

set forth sufficient facts to demonstrate an open-ended pattern of racketeering activity

occurred, meaning the “racketeering acts themselves includes a specific threat of repetition

extending indefinitely into the future [or]…are part of an ongoing entity’s regular way of

doing business.”

       Not only did the members of the enterprise target the Steiners, they also targeted

and conspired against others who they deemed to report negatively on eBay. In October of

2018, eBay executives intimidated a YouTube journalist into removing a negative

YouTube video about the company. In April of 2019, the Wall Street Journal published an




                                              49
article discussing Defendant Wenig’s $18.2 million compensation. In response, Defendant

Wenig texted Defendant Wymer, “The journal is next on our list.” This was during the

same timeframe that the Defendants were planning their attacks on the Steiners.

       Not only did eBay and its agents and employees conspire to target journalists other

than the Steiners, demonstrating a threat of repetition, the racketeering acts were part of an

eBay’s ongoing and regular way of doing business. Defendant Baugh was promoted to the

position of Head of Security, who eBay executives knew was trained by the FBI as a U.S.

intelligence agent, and had engaged in operations on behalf of the government to spy and

manipulate others. R536-537.

       Additionally, the practice of using the Security Department to eliminate negative

reporting – rather than the legal department through a cease and desist letter or a lawsuit,

or even the Public Relations Department, which Defendant Wymer was head of – evinces

that eBay uses unconventional means to deal with negative reporting. The Security

Department had both the means and the background to carry out such a conspiracy,

through the use of Protonmail email accounts, knowledge of how to cover up the

investigation, and experience with using psychological torture.

       Plaintiffs have set forth a plausible claim that there was a threat of repetition had

the Defendants not been caught and prosecuted. Even after the investigation, eBay

promoted Cooke as director of security knowing his role in stalking the Steiners. It was

not until after he was indicted that he was terminated from eBay. The Steiners should not

be precluded from establishing a RICO claim simply because the Defendants were caught,

where this was the enterprise’s regular way of doing business, and they had already set

their sights on the next target, demonstrating a specific threat of repetition. Where the facts




                                              50
alleged set forth a plausible claim for relief, this Court should deny the Defendants’ motion

to dismiss.

       The full breadth of the enterprise’s activities is within the possession of the

Defendants, and where “a material part of the information needed is likely to be within the

defendant’s control” the Court should grant the Steiners “latitude…in applying the

plausibility standard.” See Salvidar v. Racine, 818 F.3d 14, 23 (1st Cir. 2016). Where the

Steiners have set forth numerous events occurring over a several year span, it is at least

plausible they will maintain a cause of action under the open-ended theory, which is

sufficient to “unlock the doors of discovery.” See Ocasio-Hernandez, 640 F.3d at 17.

   C. Plaintiffs alleged sufficient predicate acts

       Plaintiffs have also set forth plausible predicate acts to satisfy the “pattern of

racketing” activity requirement. The Defendants engaged in numerous acts of mail fraud,

interfered with commerce through threats and/or violence, tampered with witnesses and

obstructed justice.

              1. Mail and Wire Fraud

       “To prove wire or mail fraud, the government must show: (1) a scheme [or artifice]

to defraud by means of false pretenses; (2) the defendant’s knowing and willing

participation in the scheme with the intent to defraud; and (3) the issue of interstate wire or

mail communications in furtherance of the scheme.” United States v. Martin, 228 F.3d 1,

15 (1st Cir. 2000). Schemes or artifices to defraud “include everything designed to defraud

by [material] representations as to the past or present, or suggestions and promises as to the

future.” Durland v. United States, 161 U.S. 306, 313 (1896); Neder v. United States, 527

U.S. 1, 24 (1999).




                                              51
           Defendants Baugh, Harville, Gilbert, Cooke, Popp, Stockwell and Zea mailed

threatening, intimidating and harassing items to the Steiners, which was for the purpose of

intimidating, threatening and coercing the Steiners, so that they would cease reporting on

eBay, which in turn, would cause damage to the trade publication’s business. The

defendants admitted during their respective pleas that the intent of the campaign was “for

the harassment and intimidation to distract the [Steiners] from publishing the newsletter, to

change the newsletter’s coverage of eBay, and ultimately to enable eBay to contact the

victims to offer assistance with the harassment…”. Therefore, by their own admissions, the

goal of the conspiracy was to prevent the Steiners from continuing with their business in

the usual course, to their detriment. A text from Defendant Wymer to Defendant Baugh

also directed him to shut the website down.

      i.          Defendants Baugh, Harville, Gilbert, Cooke, Popp, Stockwell and Zea

                  drafted and posted threatening Twitter messages, and sent threatening

                  private messages to Ina and David Steiner through Twitter, an

                  instrumentality of interstate commerce;

     ii.          Defendants Cooke, Popp, Gilbert, Stockwell and Zea admitted to mailing a

                  book on surviving the death of a spouse and a bloody pig mask – veiled

                  death threats – to the Steiners, in order to threaten and intimidate them into

                  ceasing all reporting on eBay, financed by PFC;

    iii.          Defendants Wenig and Wymer conspired with the Defendants, including

                  but not limited to Defendants Baugh, Harville, Gilbert, Cooke, Popp,

                  Stockwell, Zea, and John and Jane DOE and others to stalk, threaten,

                  harass, intimidate and silence the Steiners by use of the mail, through their




                                                52
        directive to “do whatever it takes” to take down the Steiners, and conspired

        with the other Defendants to commit the predicate acts, financed by PFC;

 iv.    The mail transmissions described herein were made in furtherance of the

        Defendants’ scheme and common course of conduct to threaten, intimidate,

        harass and silence the Steiners and their reporting on eBay, and use of the

        mail was foreseeable to all participants;

  v.    Emails, texts and telephone calls with inquiries or meetings to conspire

        about the attacks on the Steiners;

 vi.    Construct false identities and online avatars to deceive the Plaintiffs;

vii.    Mail and wire transmissions to carry out the scheme and common course of

        conduct, financed by PFC;

viii.   In May of 2012, Defendant eBay, or an employee acting on its behalf within

        the scope of his or her employment, fraudulently reported the

        EcommerceBytes website as a phishing site. At that point, as eBay was

        aware, EcommerceBytes had been operating as a legitimate website for over

        13 years;

 ix.    In August of 2019, the Defendants posed as the Steiners and subscribed to

        over 50 email subscriptions on computers paid for by PFC;

  x.    Defendants Baugh, Harville, Gilbert, Cooke, Popp, Stockwell and Zea

        created fake avatars and identities on Twitter, and contacted the Steiners

        using threats of violence, intimidation and coercion in order to prevent any

        further reporting on eBay. Harville admitted in his plea that Tweets were

        part of interstate commerce. Defendants Popp, Stockwell, Zea, and Gilbert




                                      53
              admitted to creating the false Twitter accounts, and using them to attack the

              Steiners, on computers paid for by PFC. Defendants Popp, Gilbert,

              Stockwell and Zea admitted during their plea hearings that they then created

              other accounts to attempt to conceal their illegal actions;

      xi.     The Defendants, including but not limited to Defendants Gilbert, Stockwell,

              Popp and Zea, posted fraudulent Craigslist and other classified websites,

              inviting strangers to the Steiners home for sex and estate sales, on

              computers paid for by PFC;

     xii.     Defendants Wenig and Wymer directed the conspiracy through the use of

              wire communications, where they discussed taking down the Steiners over

              text and email and ordered other employees and/or contractors to carry out

              their directives;

     xiii.    Defendants Baugh, Harville, Gilbert, Cooke, Popp, Stockwell and Zea

              admitted during their plea hearings that they conspired to and did obstruct

              justice by destroying evidence and tampering with witnesses through the

              use of wire communications, where they discussed deleting all phone, social

              media activity and email activity over Whatsapp, an instrument of interstate

              commerce;29




29
   As revealed during the investigation conducted by Morgan Lewis, Defendant Wymer
also obstructed justice by deleting text messages, making false statements, and misleading
investigators while staying in contact with Defendant Baugh as to the progress of the
Natick Police investigation.

                                            54
xiv.       The wire transmissions and communications were made in furtherance of

           the Defendants’ scheme and common course of conduct to intimidate and

           threaten any members of the public who engaged in reporting on eBay;

 xv.       In furtherance of the scheme to defraud, it was reasonably foreseeable that

           interstate wire communications would be used, and interstate wire

           communications were in fact used. Defendants caused to be transmitted by

           means of wire communication in interstate commerce numerous

           communications that were designed to defraud Plaintiffs out of property and

           money, and to cause reputational harm.

        2. Multiple violations of 18 U.S.C. § 1510 by obstructing justice.

viii.      Defendants Popp, Zea and Stockwell pled guilty to conspiracy to obstruct

           justice;

 ix.       Once the Defendants realized members of the Natick Police Department

           were investigating their conduct, Defendants Baugh, Harville, Gilbert,

           Cooke, Popp, Stockwell and Zea destroyed evidence, lied to investigators

           and misled the Natick Police investigation in order to both further and

           conceal their racketeering activity;

  x.       Defendants Popp, Stockwell, and Zea did plead guilty to conspiracy to

           obstruct justice. During their plea hearings, the Defendants admitted to

           destroying evidence, including deleting electronic communications, and

           lying to police;

 xi.       Defendant Baugh also contacted Defendant Wymer, and requested he

           institute the previously promised “manage any bad fallout” from




                                         55
          Defendants Wenig and Wymer, thereby conspiring to obstruct justice.

          Defendant Wymer did, in fact, delete text and email communications,

          thereby obstructing justice.

       3. Multiple violations of 18 U.S.C. § 1512 by conspiring to tamper with
          witnesses and victims.

 ii.      Defendants Gilbert and Cooke pled guilty to conspiracy to tamper with

          witnesses;

iii.      “Tampering with a witness, victim or an informant,” provides in pertinent

          part:

                  (2) Whoever uses physical force or the threat of physical force

                  against any person, or attempts to do so, with intent to –

                  (C) hinder, delay, or prevent the communication to a law

                  enforcement officer…information relating to the commission or

                  possible commission of a Federal offense…

                  shall be punished…

iv.       Here, the Defendants, including but not limited to, Defendants Baugh,

          Harville, Cooke, Gilbert, Popp, Stockwell, Zea and others used the threat of

          physical force to hinder, delay or prevent the Steiners from reporting and

          communicating with officers to report the Defendants’ activities;

 v.       Defendants Baugh, Harville, Gilbert, Cooke and Popp did prevent each

          other and other members of the conspiracy from speaking with police, and

          influenced their communications with Natick Police detectives;

vi.       Defendants Baugh, Harville, Gilbert, Cooke, Popp, Stockwell and Zea also

          conspired to and did call Ina Steiner with the purpose of intimidating,



                                         56
                 threatening and coercing her to hinder, delay or prevent her cooperation

                 with the Natick Police Department or any investigation. These actions were

                 intended to engender positive feelings towards eBay and disguise eBay’s

                 involvement, by aligning themselves with the Steiners, dubbed the “White

                 Knight Strategy.” Such a sophisticated plan lends the inference that the

                 Defendants had done it before. The internal investigation noted Defendant

                 Wymer was “inexperienced” which lent the means for such a plan;

   vii.          It was reasonably foreseeable to Defendants eBay, Wenig and Wymer that

                 the other Defendants would use means to cover-up the conspiracy, where

                 the Defendants were strategically hired for their unique expertise and skills,

                 including prior law enforcement and military experience. Additionally, the

                 culture within eBay required the Defendants to protect eBay, so it was

                 reasonably foreseeable that the Defendants would utilize means to ensure

                 eBay’s involvement in the conspiracy was not detected by outside law

                 enforcement.

   D. Contrary to the Defendants claim the Plaintiffs have no standing, they have plead a
      sufficient injury to establish a RICO claim.

          Under Title 18 U.S.C. § 1964(c), a RICO plaintiff has standing where “he has been

injured in his business or property by the conduct constituting the violation. See Sedema,

S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 496 (1985). Plaintiffs must demonstrate the

defendant’s RICO violation was the “but-for” cause-in-fact of his injury, and that it was

the legal or proximate cause. See Holmes v. S.I.P.C., 503 U.S. 258, 265-68 (1992).

          Plaintiffs have plead sufficient facts to demonstrate they were damaged in their

business and property. The enterprise interfered with the Steiners’ contractual relations



                                               57
with freelance writers, advertisers and sources. The Defendants’ actions have caused the

Steiners to become suspicious of freelance writers, advertisers and sources, thus hindering

their ability to use these critical resources. The Defendants’ actions have also caused

sources to not to want to associate with the Steiners, for fear that the Defendants will

likewise target them. This also has a direct correlation to the amount of content the

Steiners are able to produce for EcommerceBytes and the newsletters, affecting website

traffic and advertisements. In turn, EcommerceBytes revenue has also decreased.

Complaint at 78-79, ¶¶ 276-277.

         Furthermore, Defendants Baugh, Harville, Cooke, Gilbert, Popp, Stockwell and

Zea all admitted during their plea hearings that “Senior executives30 at eBay were

frustrated with the newsletter’s tone and content, and with the tone and content of

comments that appeared underneath the newsletter’s articles online,” and that as a result,

the intent of the campaign was “for the harassment and intimidation to distract the

[Steiners] from publishing the newsletter, to change the newsletter’s coverage of eBay, and

ultimately to enable eBay to contact the victims to offer assistance with the harassment…”.

Therefore, by their own admissions, the goal of the conspiracy was to prevent the Steiners

from continuing with their business in the usual course, to their detriment. A text from

Defendant Wymer to Defendant Baugh also directed him to shut the website down.

         Moreover, while the First Circuit has not yet decided the issue, several courts have

held that reputational damage can constitute a RICO injury. See e.g., Lewis v. Lhu, 696

F.Supp. 723 (D.D.C. 1988); Securitron Magnalock Corp. v. Schnabolk, 65 F.3d 256, 262

(2d Cir. 1995); Spitzer v. Abdelhak, 1999 WL 1204352 at *3 (E.D. Pa. Dec. 15, 1999);



30
     Defendants Wenig and Wymer

                                              58
Wang Laboratories, Inc. v. Burts, 612 F.Supp. 441 (D.Md. 1984); Alexander Grant and

Co. v. Tiffany Industries, Inc., 770 F.2d 717 (8th Cir. 1985).

       Furthermore, Plaintiffs have alleged that the Defendants purposefully obstructed

justice, destroyed evidence, manipulated witnesses, and that the eBay investigation turned

a blind eye to misconduct such that it would remain under wraps. In other words, one

purpose of the eBay/PFC enterprise was to injure Plaintiffs’ cause of action against the

Defendants. A cause of action is a property right, See Standard Oil Co. v. New Jersey, 341

U.S. 428, 439 (1951), and the Defendants infringed upon that property right through their

RICO activity. The Third Circuit reversed a district court’s decision to dismiss a similar

RICO claim, explaining:

       The district court dismissed the RICO claims predicated on the alleged obstructions
       of justice…because, it held, interference with a lawsuit did not constitute an injury
       to ‘business or property’ within the meaning of RICO. We believe, especially in
       light of the Supreme Court’s intervening decisions in Sedima, that this constituted
       reversible error…A cause of action, of course, is a form of “property[.]”

       Malley-Duff & Assocs., Inc. v. Crown Life Ins. Co., 792 F.2d 341, 345 (3d Cir.
       1986).

       As set forth in the Complaint, the Defendants deleted text messages, emails, and

WhatsApp messages. Defendants Baugh and Popp influenced the other Defendants during

their interviews. Additionally, in an apparent attempt to contain the misconduct and

distance itself from liability, eBay in-house counsel did not follow standard protocols

during the investigation, allowing it to be easily manipulated. That eBay was attempting to

absolve itself from liability is apparent from the email sent to the Steiners, and the public

statement issued by CEO Jamie Iannone who alleged “[t]hose responsible for this matter




                                              59
hid their actions from the company,” even though the conduct began at the top.31

Complaint at 91, ¶ 365. The public statement did not place any blame on Defendants

Wenig and Wymer, stating only that “inappropriate” comments were made. Id., contrast

with PowerPoint (eBay admitting Defendants Wenig and Wymer engaged in criminal acts

and could be charged). It appears there is additional evidence the Steiners can obtain

during discovery, which will shed more light on this claim, where Defendants Wenig and

Wendy Jones were both interviewed, which eBay has admitted to during Defendants

Baugh and Harville’s criminal investigation. This would reveal whether eBay conducted a

sham investigation, or whether they turned a blind eye to other misconduct among eBay

agents.

          Therefore, the conduct of all Defendants in obstructing justice by destroying

evidence and manipulating the investigation into any wrongful conduct has hindered

Plaintiffs ability to bring this lawsuit, which is a recognized property right.

          At this stage, Plaintiffs need not “cite statistics, appraisals, attempts to sell, or other

‘concrete evidence’ to ‘quantify’ their [injury].” Crimson v. Galeria Ltd. P’ship v. Healthy

Pharms, Inc., 337 F.Supp.3d 20, 37-38 (D. Mass. 2018), quoting Safe Street Alliance v.

Hickenlooper, 859 F.3d 865, 888 (10th Cir. 2017). The First Circuit has emphasized the

low bar in demonstrating injury, and causation at the pleading stage. See Efron v. Embassy

Suites, 223 F.3d 12, 15-16 (1st Cir. 2000) (noting “lack of causation seems to be a




31
  The sole purpose of the PowerPoint eBay presented to the Government was to convince
the Government not to charge eBay criminally. In that PowerPoint, eBay admitted liability,
including that its C-suite staff and other employees destroyed evidence, and claimed one
reason the Government should not charge eBay was because it would make it right with
the Steiners; instead, eBay has filed a motion to dismiss.

                                                  60
significant possibility” but “extremely generous reading of complaint might allow the

inference” the defendants’ actions caused the injury).

              E. Contrary to Defendants PFC, Wenig and Wymer’s assertions that there was
                 no information to suggest PFC or Wenig operated or managed enterprise,
                 there was evidence within the Complaint demonstrating all three parties
                 were integral to carrying out the enterprise’s activities.

       Defendants Wenig, Wymer and PFC claim there is no evidence contained within

the Complaint to suggest they were involved in the “operation or management” of the

enterprise.

       A civil RICO plaintiff must allege that each defendant “conduct[ed] or

participate[d] directly or indirectly, in the conduct of such enterprise’s affairs.” 18 U.S.C. §

1962(c). The Supreme Court has interpreted this language to mean that the RICO

defendant must have participated “in the operation or management of the enterprise.”

Reves v. Ernst & Young, 507 U.S. 170, 185 (1993). As the First Circuit has made clear, “a

defendant who is ‘plainly integral to carrying out the enterprise’s activities may be

held…liable under RICO.” See United States v. Ernst, 502 F.Supp.3d 637, 661 (2020),

quoting United States v. Shifman, 124 F.3d 31, 35 (1st Cir. 1997).

       Not only did Defendants Wenig and Wymer personally issue the directives which

set the conspiracy into action, the Defendants promised “top cover” should the plan go

south. Immediately after learning that the Natick Police Department had determined

Defendant Zea was associated with eBay, Defendant Baugh emailed Defendant Wymer

requesting the promised cover. While the Steiners do not yet have access to the ensuing

conversations, one day later Defendant Wenig emailed Defendant Baugh that the “cavalry

is back” and that he would be returning the next day. R545. Common sense and reasonable

inferences demonstrate that Defendants Wenig and Wymer – who would have known of



                                              61
their directives – were just as involved in the cover up as Defendant Baugh and the other

Defendants.

         As to PFC, Defendant Zea – who was a PFC employee – booked Defendant Baugh

and Harville’s plane tickets to Boston. eBay and PFC were utilizing an “expensing

loophole” so PFC could finance the conspiracy. Where the enterprise was using PFC

resources and employees, and the relationship with eBay was through Defendant Baugh,

Plaintiffs have set forth a plausible claim that PFC was “plainly integral to carrying out the

enterprise’s activities.” See Ernst, 502 F.Supp.3d at 661.

         At this stage, Plaintiffs have set forth a plausible claim for relief under the RICO

claim.

   F. Plaintiff’s also set forth a plausible claim of a RICO Conspiracy.

         To prove a conspiracy under 18 U.S.C. § 1962(d), all that is necessary is to

demonstrate the particular defendant agreed with one or more co-conspirators to participate

in the conspiracy. See Aetna Causualty Sur. Co. v. P&B Autobody, 43 F.3d 1546, 1562 (1st

Cir. 1994). The agreement need not be express, “so long as its existence can plausibly be

inferred from words, actions, and the interdependence of activities and persons involved.”

Id., citing United States v. Concemi, 957 F.2d 942, 950 (1st Cir. 1992).

         The agreement should be “to further [the] endeavor which, if completed, would

satisfy all of the elements of a substantive [RICO] offense.” United States v. Rodriguez-

Torres, 939 F.3d 16, 23-24 (1st Cir. 2019), quoting Salinas v. United States, 522 U.S. 52,

65 (1997). Under a RICO conspiracy under § 1962(d), the Defendants need not have

personally participated in the operation or management of the enterprise in order to be held

liable. See Ernst, 502 F.Supp. 3d at 657-58.




                                               62
          Even a defendant who does not know the “entire conspiratorial sweep” is

“nevertheless jointly and severally liable, in the civil context, for all acts in furtherance of

the conspiracy.” Aetna Causualty Sur. Co., 43 F.3d at 1562; United States v. Boylan, 898

F.2d 230, 242 (1st Cir. 1990) (“A RICO conspiracy does not demand…that all defendants

participate in all racketeering acts, know of the entire conspiratorial sweep, or be

acquainted with all other defendants.”).

          Where each of the Defendants agreed to participate to both “take down” the

Steiners, and then obstruct the investigation, including Defendant Wenig who was

returning from sabbatical with the “cavalry” during the investigation, and Defendant

Wymer who promised “top cover,” and Defendant PFC, who financed this conspiracy,

even if this Court finds each of the Defendants did not operate or manage the enterprise,

Plaintiffs have set forth a plausible claim for relief for conspiracy under 18 U.S.C. §

1962(d).

    IV.      Plaintiffs have set forth a plausible claim for relief for a violation of Title
             II, Ch. 12, § 11I (Massachusetts Civil Rights Act Violation) where the
             Defendants engaged in conduct constituting threats and intimidation, for
             the purpose of hindering their freedom of speech and the press. (All
             Defendants Except eBay)

          The Steiners have set forth a plausible claim for relief under Title II, Ch. 12, § 11I

with respect to each Defendant. In order to demonstrate a violation of the Massachusetts

Civil Rights Act, the Plaintiffs must prove: (1) his/her exercise or enjoyment of rights

secured by the Constitution or the laws of either the United States or the Commonwealth;

(2) have been interfered with, or attempted to be interfered with; and (3) that the

interference or attempted interferences was by threats, intimidation or coercion. See Title




                                                63
II, Ch. 12, § 11I; Mancuso v. Mass. Interscholastic Ath. Ass’n, 453 Mass. 116, 130-131

(2009).

          “A ‘threat’ is ‘the intentional exertion of pressure to make another fearful or

apprehensive of injury or harm.” Planned Parenthood League v. Blake, 417 Mass. 467,

474 (1994). Intimidation “involves putting one in fear for the purpose of compelling or

deterring conduct.” Id. Coercion “is the application to another of force to constrain him to

do against his will something he would not otherwise have done.” Id.; Deas v. Dempsey,

403 Mass. 468, 471 (1988).

          While the Defendants cite to an unpublished Massachusetts Superior Court

decision setting forth the requirement of a “physical confrontation,” the Supreme Judicial

Court has left open the question of whether physical confrontation is required to sustain a

cause of action for a violation of the Civil Rights Acts. See Freeman v. Plan. Bd. of W.

Boyston, 419 Mass. 548, 566 n. 18 (1995) (“We assume without deciding that certain

forms of oppression or domination not involving physical force might constitute coercion

under the Act…”). See also Ayasli v. Armstrong, 56 Mass. App. Ct. 740, 752 (2002)

(noting decisions inconsistent on whether physical force required); Acciavatti v.

Professional Serv. Group, Inc., 982 F. Supp. 69, 78 (D. Mass. 1997) (remarking physical

confrontation not always required).

          Contrary to the Defendants’ assertions, the Steiners have set forth a plausible claim

for relief under the Civil Rights Act where all three elements are satisfied. First, the

Steiners were exercising their right to free speech and freedom of the press when the

Defendants engaged in the scheme to attempt to shut them down. See Batchelder v. Allied




                                                64
Stores Corp., 388 Mass. 83, 88-90 (1983) (suggesting Article 16 falls within Civil Rights

Act for cause of action against private entity).

       Second, the Steiners have set forth sufficient evidence to suggest the Defendants

attempted to interfere with their right to free speech and freedom of the press. The entire

goal of the conspiracy was to put an end to the Steiners’ reporting, and at least according to

one text message between Defendants Baugh and Wymer, to shut down the entire website.

R370-371.

       Third, the Defendants engaged in threats, oppression and coercion to interfere with

the Steiners’ constitutional rights. Defendants Popp and Stockwell drafted threatening

Twitter messages, while Defendants Baugh, Harville, Cooke and Gilbert approved the

messages, and the messages directly threatened Steiner to stop reporting. Defendants

Baugh, Harville, Popp and Zea physically menacingly stalked the Steiners and their

residence, and in conjunction with the Twitter messages, made apparent this was due to

EcommerceBytes. The Defendants mailed a bloody pig mask from the movie SAW, a

book on surviving the death of a spouse and a funeral wreath to the Steiner residence, all

clear death threats.

       Defendant PFC financed the operation by paying expenses including plane tickets,

hotel rooms, car rentals, meals, gift cards, and laptop purchases. The entire conspiracy

could not have existed without the financial support of PFC. Defendant eBay admits in

their PowerPoint presentation that PFC’s involvement created an “expensing loophole”

that allowed Defendants access to funds absent any oversight from PFC or eBay, which

they termed “off-the-grid” financing of the conspiracy’s activities. R12.




                                              65
         While Defendants Wenig and Wymer allege they did not physically engage in any

threats, oppression or coercion, the whole purpose of their directive to take down Ina

Steiner, and burn her down was in response to her reporting. Therefore, the logical

inference is that their intent was to curtail the Steiners’ right to freedom of speech and the

press. Where Defendants Wenig and Wymer encouraged the conduct, knew of the conduct

and the Defendants ultimately committed the Civil Rights violation, the Steiners have set

forth a plausible claim that Defendants Wenig and Wymer aided and abetted the other

Defendants. See Massachusetts Port Authority v. Turo Inc., 487 Mass. 235, 244 (2021);

Kyte v. Philip Morris, Inc., 408 Mass. 162, 168-169 (1990).

         Where all three elements of a Civil Rights Violation are met, the Steiners have set

forth a plausible claim for relief.

    V.      Plaintiffs have set forth a plausible claim for relief for defamation where
            the Defendants made statements damaging the Steiners’ reputation, which
            caused them injury. (All Defendants except Defendants eBay and Baugh)

         In order to sustain a claim of defamation, the Plaintiff must demonstrate, (1) the

defendant made a statement concerning the plaintiff, to a third party, (2) the statement

could damage the plaintiff’s reputation in the community, (3) the defendant was at fault in

making the statement, and (4) the statement either caused the plaintiff economic loss, or is

actionable without proof of economic loss. See Ravnikar v. Bogojavlensky, 438 Mass. 627,

630 (2003).

         Four types of statements are actionable without proof of economic loss: (1)

statements that constitute libel; (2) statements that charge the plaintiff with a crime; (3)

statements that allege the plaintiff has certain diseases; and (4) statements that may

prejudice the plaintiff’s profession or business. See Sharfir v. Steele, 431 Mass. 365, 373




                                              66
(2000); Lynch v. Lyons, 303 Mass. 116, 118-119 (1939). Where the statement falls within

one of the four exceptions, the plaintiff may recover for noneconomic losses, such as

emotional injury or damage to reputation. Sharfir, 431 Mass. at 373; Restatement (Second)

of Torts, § 623.

       A statement is considered to prejudice a person’s profession or business “if it

alleges that the plaintiff lacks a necessary characteristic of the profession.” Ravnikar, 438

Mass. at 631, citing Restatement (Second) of Torts, § 573 (“One who publishes a slander

that ascribes to another conduct, characteristics or a condition that would adversely affect

his fitness for the proper conduct of his lawful business, trade or profession…is subject to

liability without proof of special harm”).

       The statement may be published in writing or some other medium (in which case it

is designated as libel), or orally (in which case it is designated as slander). Ravnikar, 438

Mass. at 629, citing Draghetti v. Chmielewski, 416 Mass. 808, 812 n. 4 (1994);

Restatement (Second) of Torts, § 568 (1977). A “statement” for purposes of defamation

means “’communication that tends to ‘harm the reputation of another.’” Jimenez-Nieves v.

United States, 682 F.2d 1, 17 (1st Cir. 1982); Restatement (Second) of Torts, § 559 (“A

communication is defamatory if it tends so to harm the reputation of another as to lower

him in the estimation of the community or to deter third persons from associating or

dealing with him.”). A “communication” is interpreted broadly, and need not include only

verbal and written statements, but also encompasses any activity whereby “one person has

brought an idea to the perception of another,” or communicates an idea to a third party. Id.

       Plaintiffs have set forth a plausible claim for defamation where the act of sending

the “Barely Legal” magazines to the Steiners neighbors in David Steiner’s name, dubbing




                                              67
the Steiners as “Persons of Interest” and associating the Steiners as swingers, as members

of the Communist Party, as people engaging in sex with animals, and having sex parties

all fall within the definition of defamation, and where the Defendants harbored an

improper motive in engaging in this conduct. The Defendants also admitted to attempting

to make the Steiners look “crazy” and referred to Ina Steiner as a “troll.”

         Moreover, the Twitter posts suggested Ina Steiner was biased, that she was

destroying families due to her reporting, and other negative connotations where the

statements “allege[d] that the plaintiff lacks a necessary characteristic of the profession” of

a journalist. Ravnikar, 438 Mass. at 631.

         Taken in its totality, the Complaint has set forth sufficient facts to demonstrate a

plausible claim for relief for defamation.

   VI.      Plaintiffs have set forth a plausible claim for relief for trespassing where
            all Defendants either entered the Steiner property without permission, or
            aided the trespass. (All Defendants Except eBay and Defendant Baugh)

         To sustain a claim for trespass a plaintiff must show “(1) plaintiff’s actual

possession of the property at issue and (2) an intentional and illegal entry by defendant.”

New England Box Co. v. C&R Constr. Co., 313 Mass. 696, 707 (1943).

         To demonstrate a defendant aided and abetted a trespass, the plaintiffs need only

demonstrate that (1) one of the other defendants committed the relevant tort; (2) that the

defendant knew the other defendants were committing the relevant tort; and (3) that the

defendant actively participated in or substantially assisted in the commission of the tort.

See Massachusetts Port Authority v. Turo Inc., 487 Mass. 235, 244 (2021); Kyte v. Philip

Morris, Inc., 408 Mass. 162, 168-169 (1990) (charge of aiding and abetting requires proof

that defendant knew of substantial, supporting role in unlawful enterprise); Brown v.




                                               68
Perkins, 83 Mass. 89, 1 Allen 89, 98 (1861) (“any person who is…encouraging or exciting

[a trespass]…or who in any way or by any means countenances or approves the same, is in

law deemed to be an aider or abettor”). Substantial assistance can be established by

demonstrating that the alleged abettor’s actions were a “substantial factor” in the

trespasser’s “ability to perpetrate” the trespass. Massachusetts Port Authority, 487 Mass. at

244.

         The Steiners have set forth a plausible claim for trespassing as to all defendants.

Defendants Baugh, Harville, Zea and Gilbert physically entered the Steiners’ property, and

Defendants Wenig, Wymer, Popp, Cooke, and Stockwell aided and abetted the trespass.

PFC is vicariously liable where Zea was acting within the scope of her employment at the

time of the trespass.

         Defendants Baugh, Zea and Gilbert

         On or around June 8, 2019, Defendant Gilbert flew from California to Boston, then

drove to the Steiner residence in Natick, entered onto the Steiner’s property, and scrawled

“Fidomaster” on their fence. P. 14, § 54. This constituted both a physical trespass, and a

trespass to chattels. See Richardson v. Ne. Hosp. Corp., 883 N.E.2d 342 (Mass. App. Ct.

2008).

         On August 15, 2019, Defendants Baugh, Harville and Zea approached the Steiner

home in an attempt to install a GPS on the Steiner vehicle, but were unable to do so only

because the vehicle was parked in the garage. Complaint at 28, § 104. This constituted an

unlawful entry onto the Steiner property.




                                               69
       Defendant Popp

       While Defendants Baugh, Harville and Zea attempted to install the GPS device on

the Steiner vehicle, Defendant Popp monitored the NPD dispatch so she could alert the

other defendants of any police detection. This constituted substantial assistance in the

trespass, where Defendant Popp was assisting the others in avoiding apprehension. As

such, Plaintiffs have set forth a plausible claim that she aided and abetted the trespass. See

Massachusetts Port Authority., 487 Mass. at 244.

       PFC

       Defendant Zea physically trespassed onto the Steiner property while acting within

the scope of her employment with PFC, as discussed supra in “Personal Jurisdiction.” As

such, Plaintiffs have set forth a plausible claim that PFC, who financed the conspiracy, is

vicariously liable for the Defendant Zea’s trespassing onto the Steiner property.

       PCF was also an aider and abettor in this conduct where it financially facilitated

Defendants Zea, Baugh and Harville’s trip to Natick including the purchase of first-class

airline tickets, the payment of hotel rooms, the rental of cars, the payment of meals, the

funds to purchase and send a pig mask, a funeral wreath a book about the death of a

spouse, live spiders, as well as gift cards, and the purchase of laptops. See Massachusetts

Port Authority, 487 Mass. at 244; Kyte, 408 Mass. at 168-169.

   VII.    Plaintiffs have set forth a plausible claim for relief for false imprisonment
           where the Defendants engaged in threats, with the purpose of confining the
           Steiners to their home. (All Defendants)

       False imprisonment is the intentional, unjustified confinement of a person, directly

or indirectly, by force or by threat, of which that person is conscious of or by which he or

she is harmed. Ortiz v. Hampden County, 16 Mass. App. Ct. 138, 140 (1983).




                                              70
        It is not necessary to demonstrate that the restraint was the result of force or

violence, or physical contact. Sweeney v. F.W. Woolworth Co., 247 Mass. 277, 142 N.E. 50

(1924). A mere threat of physical force can result in a restraint of liberty. McCann v. Wal-

Mart Stores, Inc., 210 F.3d 51, 54 (1st Cir. 2000). If a person is restrained by fear, that

amounts to false imprisonment. See Jacques v. Childs Dining Hall Co., 244 Mass. 438,

138 N.E. 843 (1923). In other words, a person who relinquishes the right to move about

freely as the only available alternative is restrained for purposes of the tort of false

imprisonment. See Foley v. Polaroid Corp, 400 Mass. 82 (1987); Coblyn v. Kennedy’s

Inc., 359 Mass. 319, 321 (1971) (“If a man is restrained of his personal liberty by fear of a

personal difficulty, that amounts to ‘false imprisonment’ within the legal meaning of such

term.”).

        A person may be held liable for false imprisonment even though he did not directly

impose a restraint upon the liberty of another where he causes such restraint to be imposed.

See Sarvis v. Boston Safe Deposit and Trust Co., 47 Mass. App. Ct. 86, 98 (1999).

        Here, the Defendants intentionally made the Steiners afraid to leave their home,

falsely imprisoning them. They threatened to kill the Steiners and followed the Steiners.

The Defendants also intentionally made the Steiners fear visitors at their front door, by

placing advertisements for sex parties and yard sales to send strangers to their home at all

hours of the day and night. The Defendants subjected the Steiners to around the clock

harassment, package deliveries, threats, and ultimately, a car stalking the Steiners and their

home. The Defendants doxed the Steiners by posting their address online.

        The Defendants were aware that the Steiners made numerous phone calls to the

police over threats to their safety and considered this a success in their goal to falsely




                                               71
imprison the Steiners. The Defendants callously joked that the Steiners were “seeing

ghosts, think everyone is following them and they call the police every 10 minutes,” and

“We know the targets have been impacts by this op.” Complaint at p. 41, ¶ 162.

       The Defendants’ use of a Samoan sounding Twitter handle was not accidental and

was intended to further intimidate the Steiners into confining themselves to their home.

Complaint at 38, ¶ 141. One step further, Defendant Baugh informed the others that if the

distraction campaign did not work, he would send the gang to the Steiners. R368, ¶ 45.

This further evidenced the Defendants use of the Samoan handle was to establish

continuity between the online harassment and threats to the real world, and use fear to

imprison the Steiners in their home.

       As intended, the Steiners remained in their home and cancelled countless visits they

had planned with friends and family out of fear they would expose their loved ones to the

stalking campaign. Not knowing who was following them and what could happen, they

were in fear for their own lives, and the lives of their loved ones. The Steiners installed a

dashcam in the rear window of their car to detect and record anyone following them. The

Steiners also installed numerous surveillance cameras outside of their home, and manned

the cameras at all hours of the day and night, separating themselves in the house so they

could determine whether someone was entering any area of their home.

       Under these circumstances, where the Steiners relinquished their right to leave their

home for fear of what could occur next, they have set forth a plausible claim for false

imprisonment. See Foley v. Polaroid Corp, 400 Mass. 82 (1987); Coblyn v. Kennedy’s

Inc., 359 Mass. 319, 321 (1971).




                                              72
   VIII. Plaintiffs set forth a plausible claim for relief for civil conspiracy where all
         Defendants either engaged in the conspiracy to harass, threaten and stalk
         the Steiners, or engaged in planning the common design to do a wrongful
         act. (All Defendants except eBay and Gilbert)

       In Massachusetts, a civil conspiracy requires (1) “a common design or an

agreement…between two or more persons to do a wrongful act” and (2) “proof of some

tortious act in furtherance of the agreement.” Aetna Cas. Sur. Co. v. P & B Autobody, 43

F.3d 1546, 1564 (1st Cir. 1994). To establish civil conspiracy, a plaintiff must provide

“evidence that the defendants agreed together” to commit an underlying tort. Gutierrez v.

Mass. Bay Transp. Auth., 437 Mass. 396, 772 N.E.2d 552, 568 (Mass. 2002).

       This theory of liability is “akin to a theory of common law joint liability in tort.”

Aetna Cas. Sur. Co., 43 F.3d at 1564. It denotes vicarious liability in tort for “concerted

action.” Id. Therefore, it supports liability of one person for a tort committed by another, as

long as there was an agreement to do a wrongful act, and one of the co-conspirators

commits a tortious act in furtherance of the agreement. Id.; New England Foundation Co.

v. Reed, 209 Mass. 556, 95 N.E. 935, 935 (1911).

       While meeting in eBay conference rooms, discussing plans on WhatsApp, and

through other communications, the Defendants conspired to inflict emotional distress on

the Steiners, then bragged about how much the Steiners were affected, and they planned

the stalking, threats and harassment which would be effectuated through Twitter, deliveries

and ultimately a trip to Boston.

       The conduct began with the directives from Defendants Wenig and Wymer to take

down Ina Steiner, and burn her to the ground. These texts evince and “agreement to do an

unlawful act.” It is irrelevant that Defendants Wenig and Wymer did not actually carry out

any of the acts, where the other Defendants carried out the tortious acts in furtherance of



                                              73
the agreement. See Aetna Cas. Sur. Co. v. P & B Autobody, 43 F.3d 1546, 1564 (1st Cir.

1994).

         Taking the totality of the Complaint, and supplying all inferences in favor of the

Steiners, they have set forth a plausible claim for relief for civil conspiracy. See Rodriguez-

Reyes, 711 F.3d at 56 (plausibility of claim does not require “a high degree of factual

specificity”); Grajales v. Puerto Rico, 682 F.3d 40, 47 (1st Cir. 2012)

Intra-Corporate Conspiracy Doctrine

         Defendants Wenig, Wymer, Baugh, Popp, Stockwell and Zea maintain the intra-

corporate conspiracy doctrine precludes liability on this count because all individual

defendants were employed by eBay, or contracted by eBay through PFC, so they are

considered all “agents of the same legal entity” and one cannot conspire with himself.

         This claim fails where the Steiners clearly set forth in the Complaint that Defendant

Zea was an employee of PFC, and that her acts were taken within the scope of her

employment with PFC. Complaint at p. 2, ¶¶ 4, 5, 13.

         In order for the intra-corporate conspiracy doctrine to apply, the agents must be a

part of the same legal entity. See Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752,

769-71 (1984) (“an agreement between or among agents of the same legal entity, when the

agents act in their official capacities, is not an unlawful conspiracy”). A civil conspiracy

can exist among corporations. See Ziglar v. Abbasi, 137 S.Ct. 1843, 1867 (2017); Williams

v. Northfield Mount Hermon Sch., 504 F. Supp. 1319, 1327 (D. Mass. 1981).

         Defendant Zea was acting within the scope of her employment with PFC during the

conspiracy, and all other defendants were acting within the scope of their employment with

eBay. A contractor is a non-agent of the corporation, and the intra-corporate doctrine




                                              74
protects agents only of a corporation principal. See King’s Choice Neckwear, Inc., v.

FedEx Corp., 2007 U.S. Dist. LEXIS 93843 (Dist. N.J. 2007).

         Additional discovery will reveal the full extent of Defendant Zea’s relationship

with both PFC and eBay, however at this stage, the Steiners have set forth sufficient facts

to demonstrate Defendant Zea is an employee of PFC, and that PFC and eBay were two

separate agencies, rendering the intra-corporate conspiracy defense inapplicable.

   IX.      Plaintiffs have set forth a plausible claim for relief for tortious interference
            with business relations where the Defendants were aware of the Steiners
            business relationship with sources, subscribers, readers and advertisers,
            and purposely interfered with the relationships, causing injury to the
            Plaintiffs. (All Defendants).

         To establish a claim of tortious interference with business, a plaintiff must establish

he (1) had a business relationship for economic benefit with a third party; (2) the

defendants knew of the relationship; (3) the defendants interfered with the relationship

through improper motive; and (4) that the interference caused the plaintiff harm. See

Kurker v Hill, 44 Mass. App. Ct. 184, 191 (1998); Mullane v. Breaking Media, Inc., 433

F.Supp. 3d 102, 113 (D. Mass. 2020).

         As to the first element, the Defendants interference must be with an “advantageous

business relationship between plaintiff and a third party.” See Cavicchi v. Koski, 67 Mass.

App. Ct. 654, 855 N.E. 2d 1137, 1141 (2006). This entails demonstrating only that the

plaintiff “had a business relationship for economic benefit with a third party.” Guest-Tek

Interactive Entm’t, Inc. v. Pullen, 731 F. Supp. 2d 80, 86 (D. Mass. 2010).

         As to the third element, the improper conduct must extend “beyond the interference

itself.” James L. Miniter Ins. Agency, Inc. v. Ohio Indemnity Co., 112 F.3d 1240, 1250 (1st

Cir. 1997). Violation of a statute or common law, or use of threats provides sufficient




                                               75
improper motive or means. Draghetti v. Chmielewski, 416 Mass. 808, 626 N.E.2d 862, 869

(Mass. 1994). “Improper motive or means” can include defamation. Sindi v. El-

Moslimany, 896 F.3d 1 (1st Cir. 2018); United Truck Leasing Corp. v. Geltman, 406 Mass.

811, 817 (1990).

       Here, as set forth in the Complaint, Plaintiffs had a number of sources who would

provide Ina Steiner with material for both the Newsletters and the EcommerceBytes

website, which would increase readership and generate profits. Additionally, the Steiners

have subscribers who read both the website and the Newsletters. Without material for both

the EcommerceBytes website and the Newsletters, the Steiners were unable to provide the

level of content expected by their readers. Moreover, because of the decrease in content,

and in turn readership, the Steiners lost advertisers, causing a direct decline in revenue.

This information is sufficient to demonstrate an “advantageous business relationship

between plaintiff and a third party.” See Cavicchi v. Koski, 67 Mass. App. Ct. 654, 855

N.E. 2d 1137, 1141 (2006).

       Moreover, the entire object of the Defendants’ conduct was to “take down” the

Steiners using whatever means available. This is sufficient to demonstrate interference

with the business relationship with an improper motive. See Kurker v Hill, 44 Mass. App.

Ct. 184, 191 (1998). The Defendants carried out the goal by defaming them online through

Tweets and online postings on Craigslist, threatening them to stop reporting on eBay,

claiming it was “destroying lives,” and even went so far as to attempt to place a GPS

device on the Steiner vehicle in an attempt to determine the identities of their sources, all

of which caused the Steiners harm. Id.




                                              76
        Plaintiffs also set forth in the Complaint that sources have ceased sharing

information with the Steiners, causing their output to decrease, and thus their revenue

through the website to decline. Where the purpose of the Defendants’ conduct was to

interfere with the relationship between the Steiners and their sources.

        Given the low standard for demonstrating plausibility, the Steiners have set forth

sufficient evidence to demonstrate the Defendants are not entitled to dismissal of the

tortious interference with business relations claim.

   X.      The Plaintiffs have set forth a plausible claim that eBay ratified the
           Defendants’ conduct. (All Defendants Except Wenig and Wymer)

        As eBay has conceded, Massachusetts has not yet addressed the issue of whether

allowing an employee to voluntarily resign, as opposed to terminating him, so that he can

obtain a $57million severance package can, as a matter of law, amount to ratification of the

behavior. (eBay motion to dismiss at 31).

        “A corporate officer is personally liable for a tort committed by the corporation that

employs him, if he personally participated in the tort by, for example, directing,

controlling, approving or ratifying the act that injured the aggrieved party.” Conning v.

Halpern, 2020 U.S. Dist. LEXIS 178635 (D. Mass. 2020); Townsends, Inc. v. Beaupre, 47

Mass. App. Ct. 747, 751 (Mass. App. Ct. 1999). “The theory of ratification is generally

applied where an employer fails to investigate or respond to charges that an employee

committed an intentional tort, such as assault or battery…A principal may be liable when it

ratifies an originally unauthorized tort.” C.R. v. Tenet Healthcare Corp., 169 Cal. App. 4th

1094, 1110-11 (2009).

        Here, eBay and PFC both ratified the conduct of their employees. The members of

the conspiracy charged criminally were fired, but Defendant Wenig was permitted to



                                             77
voluntarily resign and maintain his severance package. Defendant Cooke was promoted as

Director of Security, and was not fired until he was charged criminally despite the fact that

the eBay investigation would have revealed his participation in the conduct.

          Moreover, the obsessive tracking of the Steiners and EcommerceBytes went on for

months, and included a trip Defendant Gilbert made to Natick to scrawl “Fidomaster” on

the Steiners’ fence. Defendants Baugh, Harville and Zea disappeared for days on end, and

there were a number of meetings on eBay property relating to the conspiracy. Other John

and Jane Doe employees were present during the planning stages. Despite this, the

conspiracy was able to not only carry on, but thrive. Where the conduct was “open and

notorious,” a company can be said to have ratified the conduct. See McKenney v. New York

City Off-Track Betting Corp., 903 F.Supp. 619, 621 (S.D.N.Y. 1995).

          Additionally, eBay legal counsel presented Powerpoint to the Government in order

to convince the Government not to prosecute executives and eBay as a result of the

incident. This attempt to absolve wrongdoers of criminal liability sets forth a plausible

claim of ratification.

          Ultimately, the Steiners have set forth a plausible claim for ratification, so this

Court should deny eBay’s motion to dismiss as to this claim.

    XI.      Defendant PFC’s claim that Massachusetts lacks personal jurisdiction over
             the company fails where its agent, Defendant Zea, caused injury in
             Massachusetts.

          “In determining whether a non-resident defendant is subject to its jurisdiction, a

federal court exercising diversity jurisdiction ‘is the functional equivalent of a state court

sitting in the forum state.” Daynard v. Ness Motley, Loadholt, Richardson & Poole, P.A.,

290 F.3d 42, 51 (1st Cir. 2002). Accordingly, personal jurisdiction is assessed through the




                                                 78
lens of the Massachusetts long-arm statute and the Constitution. Lyle Richards Int’l, Ltd. V.

Ashworth, Inc., 132 F.3d 111, 112 (1st Cir. 1997). Because courts construe “the

Massachusetts long-arm statute as being coextensive with the limits permitted by the

Constitution,” this Court may “turn directly to the constitutional test for determining

specific jurisdiction.” Adelson v. Hananel, 652 F.3d 75, 80 (1st Cir. 2011).

         The Massachusetts long-arm statute “deals with torts committed by persons who

have no ongoing relationship with the forum state,” and applies when the act causing the

injury occurs in Massachusetts. Bay Promo, LLC v. Alaniz, 2021 U.S. Dist. LEXIS 82088

(D. Mass. 2021), quoting Ticketmaster-N.Y., Inc. v. Alioto, 26 F.3d 201, 205 (1st Cir.

1994). The long-arm statute does not require that a defendant be physically present in

Massachusetts at the time the plaintiff was injured, as long as the act that is the “but for”

cause of the injury was purposely directed at the plaintiff in Massachusetts. Id.

         Here, the long-arm statute applies where Defendant Zea – acting as an agent for

PFC – both directed acts at the Steiners from California into Massachusetts, and where

Defendant Zea physically travelled to Massachusetts and caused the Steiners injury in

Massachusetts. Cf. Bay Promo, LLC v. Alaniz, 2021 U.S. Dist. LEXIS 82088 (D. Mass.

2021),

         Since the Massachusetts long-arm statute applies, the next question is whether

exercising personal jurisdiction over PFC satisfies constitutional due process requirements.

Personal jurisdiction over a defendant is constitutionally sound if the requirements for

exercising either specific or general jurisdiction over the defendant apply. Cossaboon v.

Me. Med. Ctr., 600 F.3d 25, 31 (1st Cir. 2010).




                                              79
       Specific jurisdiction exists where the plaintiff’s cause of action arises from or

relates directly to the defendant’s contacts with the forum state, Prizker v. Yari, 42 F.3d 53,

60 (1st Cir. 1994); general jurisdiction is broader, and “subjects the defendant to suit in the

forum state’s courts ‘in respect to all matters, even those that are unrelated to the

defendant’s contacts with the forum.’” Cossaboon, 600 F.3d at 31, quoting Phillips Exeter

Acad. V. Howard Phillips Fund, Inc., 196 F.3d 284, 288 (1st Cir. 1999). The First Circuit

applies a three factor tests in determining whether specific jurisdiction is appropriate: “(1)

whether the claims arise out of or related to the defendant’s in-state activities, (2) whether

the defendant has purposefully availed itself to the laws of the forum state, and (3) whether

the exercise of jurisdiction is reasonable under the circumstances.” Pesmel N. Am., LLC v.

Caraustar Indus., Inc,, 754 F. Supp. 2d 168, 172 (D. Mass. 2010).

       The first prong, relatedness, “‘is a flexible, relaxed’ standard that focuses on the

nexus between the plaintiff’s claim and the defendant’s contacts with the forum state.” Id.,

quoting Astro-Med, 591 F.3d at 9. One co-defendant may have its contacts with a state

imputed to another co-defendant where the co-defendants lead “the public to believe they

were co-venturers” or where one co-defendant ratifies the other co-defendant’s

transactional contact with the forum state by “knowingly accepting the benefits of the

transaction.” Daynard, 290 F.3d at 57, 60. ‘

       The second prong, purposeful availment, requires some act or series of acts “by

which the defendant purposefully avails itself of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.” Hanson v.

Denckla, 357 U.S. 235, 253 (1958). The purposeful availment test “focuses on the

defendant’s intentionality,” and “is only satisfied when the defendant purposefully and




                                               80
voluntarily directs his activities towards the forum so that he should expect, by virtue of

the benefit he receives, to be subject to the court’s jurisdiction based on these contacts.”

United States v. Swiss Am. Bank, Ltd., 274 F.3d 610, 623-24 (1st Cir. 2001). The final

prong, reasonableness, turns on a series of so-called “Gestalt factors,” including: (1) the

defendant’s burden of appearing; (2) the forum state’s interest in adjudicating the dispute;

(3) the plaintiff’s interest in obtaining convenient and effective relief; (4) the judicial

system’s interest in obtaining the most effective resolution of the controversy; and (5) the

common interests of all sovereigns in promoting substantive social policies. Cossaboon,

600 F.3d at 33 n. 3.

        Here, all factors weigh in favor of subjecting PFC to personal jurisdiction.

Defendant Zea was an employee of PFC at the time of the events, and she was acting

within the scope of her employment as a security analyst contracted with eBay. See Wang

Labs, Inc. v. Bus. Incentives, Inc., 398 Mass. 854, 859 (1986) (employee’s conduct falls

within scope of employment if: (1) it is the kind for which he is hired to perform, (2) it

occurs within the authorized time and space limits, and (3) it was motivated, at least in

part, by a purpose to serve the employer”). As such, PFC is vicariously liable for her

conduct.

        The claims against PFC arise out of Defendant Zea’s purposeful contacts with

Massachusetts. Not only did Defendant Zea assist in sending packages to the Steiners in

Massachusetts for the purpose of harassing and threatening them, she physically traveled to

Natick, financed by PFC, to stalk, surveil, threaten and harass the Steiners, which she pled

guilty to. See Pesmel N. Am., LLC, 754 F. Supp. 2d at 172. Defendant PFC paid the travel

expenses for Zea and other members including plane tickets, hotel rooms, car rentals,




                                               81
meals. Defendant PFC also funded the conspiracy by paying the expenses for the mailings

of the pig mask, the funeral wreath, the spiders, the cockroaches, the gift cards, and the

laptops. Defendant Zea also purposefully availed herself to Massachusetts jurisdiction

where all activities were voluntarily and purposely directed to Massachusetts. Id. Lastly,

Massachusetts has an interest in adjudicating the dispute where citizens of California

travelled into Massachusetts to torture Massachusetts citizens, the forum is more

convenient for the Steiners, all but two causes of action deal with Massachusetts law, and

all other Defendants will proceed in Massachusetts. See Cossaboon, 600 F.3d at 33 n. 3.

       As such, PFC should be subjected to personal jurisdiction in Massachusetts.

CONCLUSION

       Wherefore, the Plaintiffs respectfully request that this Court deny all Defendants’

Motions to Dismiss. In the alternative, if this Court deems that any claim is susceptible to

being dismissed, Plaintiffs request that this court allow them leave to amend their

complaint.




                                              Respectfully submitted,
                                              INA AND DAVID STEINER
                                              By their attorney,

                                              /s/ Rosemary Curran Scapicchio
                                              Rosemary C. Scapicchio, BBO No. 558312
                                              Law Office of Rosemary Scapicchio
                                              107 Union Wharf
                                              Boston, MA 02109
                                              617.263.7400
                                              Rosemary@Scapicchiolaw.com




                                              82
                                            Respectfully submitted,
                                            STEINER ASSOCIATES, LLC
                                            By its attorney,

                                            /s/ Jillise McDonough
                                            Jillise McDonough, BBO No. 688694
                                            Law Office of Jillise McDonough
                                            107 Union Wharf
                                            Boston, MA 02109
                                            617.263.7400
                                            Jillise@Scapicchiolaw.com




CERTIFICATE OF SERVICE
I hereby certify that a true copy of the above document was served upon the attorney of
record for each party and upon any party appearing pro se by complying with this Court’s
directives on electronic filing.

Dated:   May 23, 2022                           Signed: /s/ Jillise McDonough




                                           83
